Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 1 of 95




                    Exhibit 51
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 2 of 95
                                                                          1240



1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                                SAN JOSE DIVISION

5
        UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                           PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                    VS.                          VOLUME 9
8
        ELIZABETH A. HOLMES,                     SEPTEMBER 21, 2021
 9
                           DEFENDANT.            PAGES 1240 - 1449
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE           S:
14
        FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
15                                BY: JOHN C. BOSTIC
                                       JEFFREY B. SCHENK
16                                150 ALMADEN BOULEVARD, SUITE 900
                                  SAN JOSE, CALIFORNIA 95113
17
                                  BY:  ROBERT S. LEACH
18                                     KELLY VOLKAR
                                  1301 CLAY STREET, SUITE 340S
19                                OAKLAND, CALIFORNIA 94612

20
        (APPEARANCES CONTINUED ON THE NEXT PAGE.)
21

22      OFFICIAL COURT REPORTERS:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
23                              CERTIFICATE NUMBER 8074
                                LEE-ANNE SHORTRIDGE, CSR, CRR
24                              CERTIFICATE NUMBER 9595

25            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                    TRANSCRIPT PRODUCED WITH COMPUTER



                           UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 3 of 95
                  ZACHMAN DIRECT BY MR. BOSTIC                                      1385



01:10PM    1      APPROXIMATELY?

01:10PM    2      A.   IN THE BEGINNING OF 2014 I SAW HER FOR ROUTINE WOMEN'S

01:10PM    3      WELLNESS, AND THEN IN THE SUMMER OF 2014 I SAW HER FOR A

01:10PM    4      PREGNANCY LOSS, AND AGAIN IN SEPTEMBER OF 2014.

01:10PM    5      Q.   YOU SAW HER AGAIN IN SEPTEMBER OF 2014?

01:10PM    6      A.   FOR A SUBSEQUENT PREGNANCY.

01:10PM    7      Q.   SO TELL US ABOUT THAT.     WHAT WAS THE STATUS OF THINGS

01:10PM    8      DURING THAT VISIT OF SEPTEMBER 2014?

01:10PM    9      A.   UH-HUH.   SO I SAW B         .   SHE HAD HAD A POSITIVE

01:11PM   10      PREGNANCY TEST AT HOME.     SHE HAD HAD PREVIOUS MISCARRIAGES, AND

01:11PM   11      SO THAT VISIT WAS EARLY ON IN THE PREGNANCY AS SHE WAS WANTING

01:11PM   12      TO ESTABLISH CARE EARLY, AND I WAS WANTING TO GIVE REASSURANCE

01:11PM   13      TO HER AND TO US OF THE WELL BEING OF HER PREGNANCY.

01:11PM   14           SO IT WAS A VISIT TO ESTABLISH, YES, SHE IS PREGNANT, AND

01:11PM   15      TO LOOK AT THE HEALTH OF THE PREGNANCY.

01:11PM   16      Q•   AND DID THIS PATIENT'S PARTICULAR HISTORY THAT YOU

01:11PM   17      MENTIONED PLAY INTO THE DECISIONS THAT YOU MADE SUBSEQUENTLY

01:11PM   18      ABOUT HOW TO APPROACH THE EARLY STAGE OF THE PREGNANCY?

01:11PM   19      A.   ABSOLUTELY.   SO SHE HAD HAD THREE MISCARRIAGES PRIOR TO

01:11PM   20      OUR VISIT IN SEPTEMBER, AND IN OBSTETRICS THAT'S CONSIDERED

01:11PM   21      INCURRED PREGNANCY LOSS, WHICH THAT PUTS HER INTO A HIGH RISK

01:12PM   22      PREGNANCY CATEGORY, SO WE FOLLOW THOSE PREGNANCIES MORE

01:12PM   23      CLOSELY, PARTICULARLY IN EARLY PREGNANCY WHERE WE WERE DRAW

01:12PM   24      SERUM QUANTS TO LOOK AT THE HEALTH OF THE PREGNANCY, AN HCG

01:12PM   25      QUANT.




                                     UNITED STATES COURT REPORTERS
                 Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 4 of 95
                    ZACHMAN DIRECT BY MR. BOSTIC                                      1400



01:31PM      1      Q.   IS THIS WHAT YOU WERE EXPECTING TO SEE BASED ON THE

01:31PM      2      THERANOS RESULTS?

01:31PM             A.   NO.

01:31PM      4      Q.   AND EXPLAIN WHY NOT?

01:31PM      5      A.   THERE ISN'T A MEDICAL EXPLANATION IN A PREGNANCY LOSS FOR

01:32PM      6      THE VALUE TO GO FROM THE HUNDREDS WAY BACK INTO THE THOUSANDS

01:32PM      7      OR TO GO UP AT ALL REALLY.

01:32PM      8      Q.   THE FOLLOWING RESULT WAS ANOTHER TWO DAYS LATER; IS THAT

01:32PM      9      CORRECT?

01:32PM     10      A.   THAT'S CORRECT.

01:32PM     11      Q.   ON OCTOBER 8TH, 2014, DID SONORA QUEST PROVIDE ANOTHER HCG

01:32PM     12      VALUE FOR MS.        ?

01:32PM     13      A.   THEY DID.

01:32PM     14      Q.   AND WHAT WAS THAT VALUE?

01:32PM     15      A.   17,716.

01:32PM     16      Q.   AND LOOKING AT THOSE LAST TWO SONORA QUEST VALUES, WHAT

01:32PM     17      DID THEY SIGNAL TO YOU AS A MEDICAL PROFESSIONAL?

01:32PM     18      A.   SO THAT'S A MERE DOUBLE WITHIN 48 HOURS SUGGESTING THAT

01:32PM     19      THE PREGNANCY IS MOVING IN A VIABLE WAY.

01:32PM     20      Q    AND I THINK YOU TESTIFIED EARLIER THAT WE KNOW THIS STORY

01:32P1v1   21      HAS A HAPPY ENDING AND MS. G        CARRIED HER PREGNANCY TO TERM?

ol:32pri    22      A.   YES.

01:32PM     23      Q.   AND BASED ON THAT INFORMATION, DID YOU REACH A CONCLUSION

01:32PM     24      ABOUT THE ACCURACY OF THE THERANOS TEST RESULTS?

01:33P1v1   25      A.   I FELT VERY UNCERTAIN OF THE VALIDITY OF THE RESULTS AND




                                        UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 5 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7           WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                 IRENE RODRIGUEZ, CSR, CRR
                                 CERTIFICATE NUMBER 8076
17

18                                (754f-944xt.
19                               LEE-ANNE SHORTRIDGE, CSR, CRR
                                 CERTIFICATE NUMBER 9595
20

21                               DATED:   SEPTEMBER 21, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 6 of 95
                                                                          1450



1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                                SAN JOSE DIVISION

5
        UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                           PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                    VS.                          VOLUME 10
8
        ELIZABETH A. HOLMES,                     SEPTEMBER 22, 2021
 9
                           DEFENDANT.            PAGES 1450 - 1685
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE           S:
14
        FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
15                                BY: JOHN C. BOSTIC
                                       JEFFREY B. SCHENK
16                                150 ALMADEN BOULEVARD, SUITE 900
                                  SAN JOSE, CALIFORNIA 95113
17
                                  BY:  ROBERT S. LEACH
18                                     KELLY VOLKAR
                                  1301 CLAY STREET, SUITE 340S
19                                OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                           UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 7 of 95
                  OFFEN DIRECT BY MR. LEACH                                         1511



11:01AM    1      THE TRUTH.    IT'S OFFERED FOR NOTICE,


11:01AM   2            THE SECOND LINE IS A STATEMENT BY AN AGENT UNDER

11:01AM   3       801(D)(2) (E), AND IT IS OFFERED FOR THE TRUTH.

11:01AM   4                    MS. TREFZ:   I DON'T BELIEVE THIS MESSAGE HAS BEEN

11:01AM   5       IDENTIFIED UNDER THE LOCAL RULES AS AN 801(D)(2) STATEMENT.

11:01AM   6                    THE COURT:   IS THERE ANY FOUNDATION FOR THE

11:01AM   7       INDIVIDUAL THAT IS LISTED HERE?        BECAUSE I'M NOT SURE I HAVE

11:01AM   8       THAT.

11:01AM    9                   MR. LEACH:   IN THE FIRST SENTENCE, YOUR HONOR?

11:01AM   10                   THE COURT:   YES.   FOR AGENCY PURPOSES, I'M NOT

ii:ouol   11      CERTAIN THERE'S A FOUNDATION FOR THAT.

11:01AM   12                   MR. LEACH:   I'M OFFERING THAT FIRST LINE FOR NOTICE,

11:01AM   13      NOT -- FOR A NONHEARSAY PURPOSE.

11:01AM   14           THE SECOND LINE IS NOT CONNECTED TO THAT FIRST PERSON.

11:02AM   15                   THE COURT:   I THINK THE 805 GOES TO THE SECOND, THE

11:02AM   16      SECOND LINE, THE COMMENT THAT THERE IS --

11:02AM   17                   MR. LEACH:   I THINK THAT'S A COMMENT BY THE SENDER

11:02AM   18      OF THE MESSAGE, YOUR HONOR.

11:02AM   19           (PAUSE IN PROCEEDINGS.)

11:02AM   20                   THE COURT:   ALL RIGHT.    THE FIRST LINE YOU'RE ASKING

11:02AM   21      TO BE ADMITTED PURELY FOR NOTICE AS TO MS. HOLMES ONLY?

11:02AM   22                   MR. LEACH:   YES.

11:02AM   23                   THE COURT:   AND NOTICE OF WHAT SPECIFIC ISSUE?

11:03AM   24                   MR. LEACH:   KNOWLEDGE OF THE MEDIA, PERCEPTION OF

11:03AM   25      THE COMPANY, HOW CERTAIN MESSAGES ARE GETTING ACROSS.




                                      UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 8 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7           WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8       UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                 IRENE RODRIGUEZ, CSR, CRR
                                 CERTIFICATE NUMBER 8076
17

18                                (754f-944xt.
19                               LEE-ANNE SHORTRIDGE, CSR, CRR
                                 CERTIFICATE NUMBER 9595
20

21                               DATED:   SEPTEMBER 22, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 9 of 95
                                                                          3279



1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                                SAN JOSE DIVISION

5
        UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                           PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                    VS.                          VOLUME 18
8
        ELIZABETH A. HOLMES,                     OCTOBER 13, 2021
 9
                           DEFENDANT.            PAGES 3279 - 3537
10                                               PAGES 3292 - 3364 SEALED
                                                 PAGES 3534 - 3537 SEALED
11

12
                         TRANSCRIPT OF TRIAL PROCEEDINGS
13                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
14
        APPEARANCE           S:
15
        FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
16                                BY: JOHN C. BOSTIC
                                       JEFFREY B. SCHENK
17                                150 ALMADEN BOULEVARD, SUITE 900
                                  SAN JOSE, CALIFORNIA 95113
18
                                  BY:  ROBERT S. LEACH
19                                     KELLY VOLKAR
                                  1301 CLAY STREET, SUITE 340S
20                                OAKLAND, CALIFORNIA 94612

21            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

22      OFFICIAL COURT REPORTERS:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
23                              CERTIFICATE NUMBER 8074
                                LEE-ANNE SHORTRIDGE, CSR, CRR
24                              CERTIFICATE NUMBER 9595

25            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                    TRANSCRIPT PRODUCED WITH COMPUTER



                           UNITED STATES COURT REPORTERS
                   Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 10 of 95
                       M1QUELON DIRECT BY MR. SCHENK (RES.)                              3406



11:59AM       1        LISTED, THAT MAYBE WE WEREN'T TRAINING PEOPLE FAST ENOUGH

11:59AM       2        PROPERLY, MAYBE WE WEREN'T GETTING OUR EXPERIENCE RIGHT FAST

11:59AM       3       ENOUGH.

11:59AM       4        Q.   THANK YOU.

11:59AM       5             WOULD YOU NOW TURN TO EXHIBIT 1254.

11:59AM       6             WHAT IS THIS DOCUMENT?

11:59AM       7        A.   I BELIEVE THIS IS AN EMAIL THAT FORWARDS AN ARTICLE ON

11:59AM       8        THERANOS.

11:59AM       9        Q.   FIRST AN EMAIL FROM MR. BALWANI TO FOLKS AT WALGREENS AND

11:59AM      1 0       THEN FROM MR. -- DR. ROSAN AT WALGREENS TO YOU; IS THAT RIGHT?

11:59AM      1 1       A.   THAT'S CORRECT.      THAT'S RIGHT.

12:00PM      12                    MR. SCHENK:     YOUR HONOR, THE GOVERNMENT OFFERS 1254.

12:00PM      13                    MR. DOWNEY:     YOUR HONOR, I DON'T OBJECT TO THE

12:00PM      14       EMAIL, BUT THE ARTICLE CONTAINS A GOOD AMOUNT OF HEARSAY, THE

12:00PM      15        ATTACHMENT.

12:00PM      16                    MR. SCHENK:     YOUR HONOR, I'M CERTAINLY NOT OFFERING

1 'J.lf1DM   17        THF. ARTTrLv FnR   TTg   TRuTH.

12:00PM      18                    THE COURT:     IT'S BEING OFFERED FOR WHAT PURPOSE?

12:00PM      19                    MR. SCHENK:     I'M SORRY?

12:00PM      20                    THE COURT:     WHAT PURPOSE?

12:00PM      21                    MR. SCHENK:     TO SHOW THE STATE OF MIND OF THE

12:00PM      22       INDIVIDUAL WHO SENT IT.       I THINK IT'S ALSO 801(0)(2)(E).

12:00PM      23                    THE COURT:     ALL RIGHT.    I'LL ADMIT THIS.

12:00PM      24             LADIES AND GENTLEMEN, THE ARTICLE THAT YOU'LL SEE IN JUST

12:00PM      25        A MOMENT IS NOT BEING OFFERED FOR THE TRUTH OF THE MATTER




                                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 11 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                  IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18                                 (754f-944xt.
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   OCTOBER 13, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 12 of 95
                                                                           4903



1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                 SAN JOSE DIVISION

5
         UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                            PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                     VS.                          VOLUME 36
8
         ELIZABETH A. HOLMES,                     NOVEMBER 2, 2021
 9
                            DEFENDANT.            PAGES 4903 - 5186
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE            S:
14
        FOR THE PLAINTIFF:         UNITED STATES ATTORNEY'S OFFICE
15                                 BY: JOHN C. BOSTIC
                                        JEFFREY B. SCHENK
16                                 150 ALMADEN BOULEVARD, SUITE 900
                                   SAN JOSE, CALIFORNIA 95113
17
                                   BY:  ROBERT S. LEACH
18                                      KELLY VOLKAR
                                   1301 CLAY STREET, SUITE 340S
19                                 OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                            UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 13 of 95
                   PETERSON REDIRECT BY MR. LEACH                                     5001



11:26AM    1        AND WAG?

11:26AM    2        A.   YES.

11:26AM    3        Q.   AND IN YOUR EXPERIENCE, IS WAG AN ACRONYM FOR WALGREENS?

11:26AM    4        A.   YES.

11:26AM    5        Q.   AND THE DATE OF THIS IS OCTOBER 10TH, 2014.

11:26AM    6             IS THAT IN THE MONTH WHEN, WHEN RDV WAS CONSIDERING AN

11:27AM    7        INVESTMENT DECISION?

11:27AM    8        A.   YES.

11:27AM    9                    MR. LEACH:    YOUR HONOR, I OFFER EXHIBIT 2065 INTO

11:27AM   1 0      EVIDENCE.

11:27AM   1 1                   MR. WADE:    YOUR HONOR, I DON'T SEE ANY FOUNDATION OR

11:27AM   12        RELEVANCE TO THIS DOCUMENT FROM THIS WITNESS, AND HEARSAY.

11:27AM   13             (PAUSE IN PROCEEDINGS.)

11:27AM   14                    THE COURT:    CAN YOU LAY A LITTLE MORE FOUNDATION ON

11:27AM   15        THIS, AND TELL ME HOW IT RELATES TO THE REDIRECT AGAIN.

11:27AM   16                    MR. LEACH:    YOUR HONOR, THIS WITNESS WAS ASKED

11:27AM   17        QUESTIONS ABOUT WHETHER OR NOT RDV VISITED A WALGREENS IN THIS

11:27AM   18        TIME PERIOD.   THIS RELATES TO ANOTHER POTENTIAL INVESTOR IN THE

11:27AM   19        SAME TIME PERIOD.

11:27AM   20             IT'S NOT HEARSAY BECAUSE IT'S A STATEMENT OF AN AGENT.

11:27AM   21             IT'S ALSO 801(D)(2)(E), AND I THINK MR. EDLIN LAID A

11:28AM   22        FOUNDATION UNDER THE BUSINESS RECORD EXCEPTION.

11:28AM   23             I ALSO OFFER IT FOR THE NONHEARSAY PURPOSE FOR STATE OF

11:28AM   24        MIND TO THE RECIPIENT.

11:28AM   25             AND IT RELATES TO -- THE QUESTIONS WERE ASKED ABOUT THE




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 14 of 95
                  PETERSON REDIRECT BY MR. LEACH                                      5013



11:51AM    1       SHOWN SUCH THAT STATEMENTS CAN BE ENTERED.

11:51AM    2            I THINK THIS IS THE FIRST TIME THAT THAT HAS COME UP IN

11:51AM    3       THE TRIAL WHERE, MR. LEACH, YOU MENTIONED IT COULD COME IN AS A

11:51AM    4       STATEMENT OF A COCONSPIRATOR IN FURTHERANCE OF UNDER

11:51AM    5      801(D)(2)(E).

11:51AM    6            I'VE TAKEN NOTES.    I DON'T KNOW IF YOU WANT TO KNOW MY

11:51AM    7       OPINION ABOUT IT.    IT SEEMS TO ME THAT THERE HAS BEEN AT LEAST

11:51AM    8       FOR PRIMA FACIE SHOWING, IT SEEMS LIKE SOME OF THE STATEMENTS

11:51AM    9       AND THE EVIDENCE THAT HAS COME IN DOES ESTABLISH AT LEAST FOR

11:51AM   10      EVIDENTIARY PURPOSES A PRIMA FACIE CASE.

11:51AM   11            I DON'T KNOW IF YOU WANT TO COMMENT.      I'M NOT TRYING TO

11:51AM   12       TAKE US DOWN A SIDE ROAD BUT --

11:51AM   13                  MR. WADE:    I'D LIKE TO ADDRESS THAT MORE

11:51AM   14       THOUGHTFULLY, FRANKLY, YOUR HONOR, RATHER THAN DOING IT ON THE

11:51AM   15       FLY WITH RESPECT TO THIS ISSUE.

11:51AM   16            OF COURSE, THERE'S A NOTICE CONCERN THAT COMES WITH

11:51AM   17      801(D)(2)(E) --

11:51AM   18                  THE COURT:    RIGHT.

11:51AM   19                  MR. WADE:    -- THAT THE NORTHERN DISTRICT TAKES VERY

11:51AM   20       SERIOUSLY, AND I KNOW THE COURT DOES AS WELL.       THIS WAS NOT

11:51AM   21       NOTICED UNDER 801(D)(2)(E), AND THAT IS NOW ALSO A REQUIREMENT

11:51AM   22       UNDER THE FEDERAL RULES OF EVIDENCE.      THEY ACTUALLY -- THE

11:51AM   23      NORTHERN DISTRICT WAS ACTUALLY A LITTLE IN FRONT OF THE RULES

11:51AM   24       COMMITTEE ON THAT.

11:51AM   25            SO I THINK IT WOULD BE UNFAIR TO CONCLUDE ON THIS WITHOUT




                                       UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 15 of 95
                   PETERSON REDIRECT BY MR. LEACH                                     5014



11:51AM     1       NOTICE.    ARGUABLY IT'S EXCLUDABLE AS OFFERED UNDER THAT AS A

11:51AM    2       RESULT OF THE LACK OF NOTICE, BUT AT A MINIMUM, I WOULD LIKE TO

11:51AM    3        HAVE THE OPPORTUNITY TO ADDRESS THAT.

11:51AM    4             AGAIN, THIS WITNESS OFFERS NO TESTIMONY ON THIS.     BDT WAS

11:51AM    5        ADDRESSED, BUT IT WASN'T ADDRESSED IN CONNECTION WITH

11:51AM    6        WALGREENS.    IT WAS ADDRESSED IN CONNECTION WITH A CONFERENCE.

11:51AM    7        SHE DIDN'T HAVE ANY INTERACTIONS OR KNOWLEDGE OF BDT APART FROM

11:51AM    8        WHAT MR. LEACH JUST PULLED OUT ON REDIRECT, WHICH HE CAN'T OPEN

11:51AM    9        HIS OWN DOOR.

11:51AM   10             I ASKED QUESTIONS ABOUT WHETHER SHE HAD INTERACTIONS WITH

11:51AM   1 1       BDT OR WHETHER SHE KNEW ABOUT INTERACTIONS, WHETHER SHE WAS

11:51AM   12        THERE, AND HER ANSWER UNDER ALL OF THAT WAS NO.

11:51AM   13             SO I THINK IT'S A HUGE STRETCH TO PUT THIS IN.     IT DOESN'T

11:51AM   14        NEED TO COME IN NOW.      I'D LIKE THE OPPORTUNITY TO, YOU KNOW, TO

11:51AM   15        CONSIDER THIS AND ADDRESS THIS OUTSIDE OF THE CONTEXT GIVEN

11:51AM   16        THAT WE DIDN'T GET NOTICE AND IT'S BEING OFFERED AS A

11:51AM   17        COCONSPIRATOR EXCEPTION.

11:51AM   18                     THE COURT:   WELL, AMONGST OTHERS, BUT THERE ARE

11:51AM   19        OTHER REASONS WHY MR. LEACH PROFFERS THIS.      HE DID OFFER IT FOR

11:51AM   20        THAT PURPOSE.

11:51AM   21             BUT I DO -- I SEE SOME RELEVANCE AS TO THIS.     WHETHER OR

11:51AM   22       NOT TIMING IS APPROPRIATE NOW TO INTRODUCE IT -- YOU KNOW,

11:51AM   23        MR. LEACH, I'M GOING TO SUSTAIN THE OBJECTION AS TO THIS

11:51AM   24        WITNESS.   I JUST DON'T THINK THE TIMING IS RIGHT AND THE

11:51AM   25        FOUNDATION IS THERE TO GET THIS IN NOW.




                                        UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 16 of 95
                   PETERSON REDIRECT BY MR. LEACH                                     5015


11:51AM     1            I MADE MY COMMENTS ABOUT AT LEAST GENERALLY FINDING THE

11:51AM     2      EVIDENCE SHOWS BASED UPON TEXT MESSAGES, AND I DON'T HAVE ALL

11:51AM     3       OF MY NOTES HERE, BUT I'VE MADE NOTES ABOUT ASPECTS OF

11:51AM     4       CONVERSATIONS AND OTHERS THAT COULD SHOW A PRIMA FACIE CASE OF

11:51AM     5       A CONSPIRACY IN FURTHERANCE OF DURING THE CHARGING PERIOD,

11:51AM     6      WHICH WOULD THEN OPEN THE DOOR FOR OTHER HEARSAY STATEMENT OR

11:51AM     7      OTHER STATEMENTS OF THE PARTIES.       I JUST WANT TO LET YOU KNOW

11:51AM     8      THAT, AND I'M DOING THIS OUTSIDE OF THE PRESENCE OF THE JURY,

11:51AM     9      OF COURSE, JUST TO KEEP YOU APPRISED OF THAT.

11:51AM    10            BUT ALL OF THE NOTICE AND ALL OF THE OTHER RULES, OF

11:51AM    11      COURSE, APPLY.

11:51AM    12            BUT SINCE YOU RAISED IT, MR. LEACH, TALKING ABOUT THIS, I

11:51AM    13      THOUGHT I WOULD GIVE YOU AT LEAST THE BENEFIT OF MY THOUGHTS ON

11:51AM    14      THAT, RIGHT OR WRONG, BUT I JUST WANTED TO SHARE THAT WITH YOU.

11:51AM    15                  MR. LEACH:   THANK YOU, YOUR HONOR.

11:51AM    16                  THE COURT:   SO YOU CAN EXPLORE BDT.    IT WAS TALKED

11:51AM    17      ABOUT.

11:51AM    18            I JUST THINK GETTING THE DOCUMENT IN NOW THROUGH THIS

11:51AM    19      WITNESS IS NOT APPROPRIATE AT THIS TIME.

11:51AM    20            SO AT THIS TIME I'LL SUSTAIN THE OBJECTION.      I'LL DO IT

11:51AM    21      OUT THERE IN FRONT OF THE JURY.

3. :51AM   22                  MR. LEACH:    OKAY.

11:51AM    23                  MR. WADE:    OKAY.    THANK YOU, YOUR HONOR.

11:51AM    24                  MR. LEACH:    THANK YOU, YOUR HONOR.

11:51AM    25            (END OF DISCUSSION AT SIDE-BAR.)




                                      UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 17 of 95


1

 2

 3                            CERTIFICATE OF REPORTER

 4

5

 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

8       STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9      280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10      CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA      Ao
                                  IRENE RODRIGUEZ, CSR, RMR, CRR
                                  CERTIFICATE NUMBER 8074
17

18
                                  DATED:   NOVEMBER 2, 2021
19

20

21

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 18 of 95
                                                                           5671



1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                 SAN JOSE DIVISION

5
         UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                            PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                     VS.                          VOLUME 30
8
         ELIZABETH A. HOLMES,                     NOVEMBER 9, 2021
 9
                            DEFENDANT.            PAGES 5671 - 5872
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE            S:
14
        FOR THE PLAINTIFF:         UNITED STATES ATTORNEY'S OFFICE
15                                 BY: JOHN C. BOSTIC
                                        JEFFREY B. SCHENK
16                                 150 ALMADEN BOULEVARD, SUITE 900
                                   SAN JOSE, CALIFORNIA 95113
17
                                   BY:  ROBERT S. LEACH
18                                      KELLY VOLKAR
                                   1301 CLAY STREET, SUITE 340S
19                                 OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                            UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 19 of 95
                   DAS DIRECT BY MR. LEACH                                           5817


02:14PM    1      A.    THAT'S CORRECT.

02:14PM    2      Q.    AND IN NUMBER 2 IT SAYS, "THE TOTAL PERCENTAGE OF QC

02:14PM    3      VALUES GREATER THAN 2 STANDARD DEVIATIONS (SDS) WAS REVIEWED BY

02:14PM    4      THE SURVEYOR."

02:14PM    5            DO YOU SEE THAT LANGUAGE?

02:14PM    6      A.    I DO.

02:14PM    7      Q.    AND DO YOU UNDERSTAND WHAT IS MEANT BY "STANDARD

02:14PM    8       DEVIATIONS"?

02:14PM    9      A.    YES, I DO.

02:14PM   10      Q.    AND WHAT IS A STANDARD DEVIATION?

02:14PM   11      A.    WOULD YOU LIKE THE MORE TECHNICAL DEFINITION?

02:14PM   12      Q.    I'D LIKE THE LESS TECHNICAL DEFINITION IF YOU COULD.

02:14PM   13      A.    IT'S, IN GENERAL, AN ESTIMATE OF THE SPREAD OF A DATA SET,

02:14PM   14      HOW WIDELY THE VALUES VARY.

02:14PM   15      Q.    OKAY.

02:14PM   16      A.    IN LABORATORY PARLANCE, WE USE IT TO ESTIMATE PRECISION.

02:14PM   17      Q.    AND IF WE CAN GO TO THE NEXT PAGE, PLEASE, PAGE 56.

02:15PM   18            DR. DAS, DO SOME OF THE CMS FINDINGS CONTINUE -- WITH

02:15PM   19      RESPECT TO THIS D TAG CONTINUE ON TO THE NEXT PAGE?

02:15PM   20      A.    YES, I SEE THAT.

02:15PM   21      Q.    OKAY.   DO YOU SEE WHERE IT SAYS, "IN JULY 2014, THE DATA

02:15PM   22      REVEALED THE FOLLOWING TESTS SHOWED PERCENTAGE OF QC SAMPLES

02:15PM   23       WITH MORE THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."     AND

02:15PM   24      THEN THERE'S TESTOSTERONE, TOTAL T4, VITAMIN D.

02:15PM   25            "OVERALL 16 PERCENT OF QC SAMPLES ON ALL TESTS ON ALL




                                      UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 20 of 95
                    DAS DIRECT BY MR. LEACH                                           5818



02:15PM    1        DEVICES HAD VALUES GREATER THAN 2 SDS."


02:15PM     2            DO YOU SEE THAT LANGUAGE?

02:15PM    3       A.    I DO SEE THAT.

02:15PM     4      Q.    OKAY.    AND WERE TST, TOTAL T4, AND VITAMIN D ASSAYS RUN ON

02:15PM    5       THE EDISON IN THE 2014 TIME PERIOD?

02:15PM     6      A.    THAT IS CORRECT.      I BELIEVE THAT'S WHAT THEY'RE REFERRING

02:15PM     7      TO.

02:15PM    8       Q.    AND DID YOU AND YOUR TEAM ALSO REVIEW THE DATA THAT IS

02:16PM     9      LISTED HERE ON THIS FORM?

02:16PM   10       A.    YES.

02:16PM   1 1      Q•    AND DID YOU REVIEW AN EVEN BROADER UNIVERSE OF QC DATA IN

02:16PM   12       ORDER TO RESPOND TO THE CMS REPORT?

02:16PM   13       A.    WE DID.

02:16PM   14       Q•    AND IS THIS -- IS THE FINDING LISTED HERE CONSISTENT WITH

02:16PM   15        WHAT YOU REVIEWED IN YOUR REVIEW OF DATA?

02:16PM   16                     MR. WADE:    YOUR HONOR, 702 ON THIS ISSUE,

02:16PM   17       PARTICULARLY GIVEN THE PURPOSE THAT THIS EVIDENCE HAS BEEN

02:16PM   18       OFFERED.

02:16PM   19                     THE COURT:   MR. LEACH, I THINK YOU'RE ON THE MARGINS

02:16PM   20       OF A 702 AREA, SO LET ME ASK YOU TO REPHRASE YOUR QUESTION.

02:16PM   21       BY MR. LEACH:

02:16PM   22       Q.    DID YOU ALSO -- DID YOU ALSO REVIEW THE DATA THAT IS

02:16PM   23       LISTED IN THIS REPORT, IN THIS PARAGRAPH E, DR. DAS?

02:16PM   24       A.    I DON'T RECALL THESE EXACT NUMBERS, BUT THESE TIME FRAMES

02:17PM   25       ARE CONSISTENT WITH MY RECOLLECTION.




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 21 of 95
                   DAS DIRECT BY MR. LEACH                                           5819


02:17PM    1        .    OKAY.    AND IN RESPONDING TO CMS, DID -- QR YOU NEEDED TQ

02:17PM    2      FORMULATE A RESPONSE TO CMS ON BEHALF OF THE COMPANY; IS THAT

02:17PM    3      CORRECT?

02:17PM    4      A.     YES, THAT IS CORRECT.

02:17PM    5      Q.     AND DID YOU LOOK AT NOT JUST DATA FOR JULY OF 2014, BUT A

02:17PM    6      BROADER UNIVERSE OF DATA IN ORDER TO UNDERSTAND AND RESPOND TO

02:17PM    7      CMS?

02:17PM    8      A.     YES, WE DID.

02:17PM    9      Q.     OKAY.    AT ANY POINT DID YOU TELL CMS THAT THE COMPANY

02:17PM   10       DISAGREED WITH THIS PARTICULAR FINDING?

02:17PM   11      A.     NOr I DON'T BELIEVE WE DID.

02:17PM   12      Q.     OKAY.    WHY NOT?

02:17PM   13      A.     THESE FINDINGS --

02:17PM   14                     MR. WADE:    YOUR HONOR, AGAIN, 702.   WE'RE JUST USING

02:17PM   15      REVERSE INSTEAD OF FORWARD.

02:17PM   16                     THE COURT:   I UNDERSTAND.

02:17PM   17             I THINK YOU'RE ASKING FOR AN OPINION THAT FALLS UNDER 702

02:17PM   18      THE WAY THE QUESTION IS FORMED, SO I'LL SUSTAIN THE OBJECTION.

02:17PM   19      BY MR. LEACH:

02:17PM   20      Q.     BUT YOU NEVER SAID TO ANYBODY AT CMS, "I DISAGREE WITH

02:17PM   21      THIS FINDING"?

02:18PM   22      A.     I DON'T RECALL SAYING THAT OR WRITING THAT.

02:18PM   23      Q.     LET'S GO TO NUMBER F.

02:18PM   24      A.     OKAY.

02:18PM   25      Q.     AND IF WE CAN ENLARGE THAT, MS. HOLLIMAN.




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 22 of 95
                  DAS DIRECT BY MR. LEACH                                            5820


02:1$PM    1            I'M SORRY.   I THINK WE'RE DOWN ON H.   I WANTED TO FOCUS ON

02:18PM    2      F IF WE COULD:

02:18PM    3            THIS READS, DR. DAS, "IN OCTOBER 2014 THE DATA REVEALED

02:18PM    4      THE FOLLOWING TESTS SHOWED PERCENTAGE OF QC SAMPLES WITH MORE

02:18PM    5      THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."

02:18PM    6            DO YOU SEE THAT LANGUAGE?

02:18PM    7      A.    I DO.

02:18PM    8      4.    AND THEN THERE'S A LIST FOR ESTRADIOL, FREE T4, PROLACTIN,


02:18PM    9      SHBG, TSH, TST, TOTAL T3, TT4, VITAMIN D, AND VITAMIN B12.

02:19PM   10            DO YOU SEE THOSE?

02:19PM   11      A.    I DO.

02:19PM   12      Q•    AND ARE ALL OF THOSE ASSAYS THAT WERE RUN ON THE EDISON?

02:19PM   13      A.    YES.

02:19PM   14      Q•    AND AS A LAB DIRECTOR, IS IT DESIRABLE OR UNDESIRABLE TO

02:19PM   15      HAVE A CV OF GREATER THAN 15 PERCENT?

02:19PM   16      A.    THAT WOULD BE UNDESIRABLE.

02:19PM   17      Q•    THIS SAYS, "OVERALL 29 PERCENT OF QC SAMPLES ON ALL TESTS

02:19PM   18      ON ALL DEVICES HAD VALUES GREATER THAN 2 SD'S."

02:19PM   19            DO YOU SEE THAT?

02:19PM   20      A.    YES, I SEE THAT.

02:19PM   21      Q•    AND WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:19PM   22      A.    THAT -- I UNDERSTAND THAT TO MEAN THAT 15 PERCENT OF THE

02:19PM   23      VALUES WERE VIOLATING THE 2 SD RULE, WHICH IS A COMMON QUALITY

02:19PM   24      CONTROL RULE.

02:19PM   25      Q•    AND DID YOU HAVE DISCUSSIONS WITH MS. HOLMES ABOUT THIS




                                     UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 23 of 95
                   DAS DIRECT BY MR. LEACH                                            5821


02:19PM    1      QUALITY CONTROL RULE AND THE DATA THAT WAS BEING REPORTED BY

02:19PM    2      CMS?

02:19PM    3      A.     IN GENERAL, YES.

02:19PM    4      Q.     LET'S GO TO LETTER G.

02:20PM    5             DO YOU SEE WHERE IT SAYS, "IN FEBRUARY OF 2015, THE

02:20PM    6       DATA" -- OH, BEFORE I LEAVE G, DID YOU EVER TELL CMS THAT YOU

02:20PM    7       DISAGREED WITH THIS FINDING IN F?

02:20PM    8                     MR. WADE:    YOUR HONOR, I'M GOING TO OBJECT ON 702

02:20PM    9      GROUNDS TO THIS AS WELL.

02:20PM   10                     THE COURT:   OVERRULED.    YOU CAN ANSWER THE QUESTION.

02:20PM   11                     THE WITNESS:    NO, I DO NOT RECALL THAT.

02:20PM   12      BY MR. LEACH:

02:20PM   13      Q.     IN G IT SAYS, "IN FEBRUARY 2015, THE DATA REVEALED THE

02:20PM   14      FOLLOWING TESTS SHOWED THE PERCENTAGE OF QC SAMPLES WITH MORE

02:20PM   15      THAN 15 PERCENT OF VALUES GREATER THAN 2 SD."

02:20PM   16             AND IT LISTS FT4, SHBG, TT3, VITAMIN D, VITAMIN B12.

02:20PM   17             DO YOU SEE THAT?

02:20PM   18      A.     I DO.

02:20PM   19      Q.     AND THOSE ARE TESTS THAT ARE RUN ON EDISON?

02:20PM   20      A.     THAT IS CORRECT.

02:20PM   21      Q.     AND AT ANY POINT IN TIME DID YOU TELL CMS THAT YOU

02:20PM   22       DISAGREED WITH THIS FINDING?

02:20PM   23      A.     NO, I DON'T RECALL DOING SO.

02:20PM   24      Q.     LET'S LOOK AT H AND I.

02:21PM   25             DO YOU SEE WHERE IT SAYS,
                                                       I.   MARCH OF 2015, THE DATA




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 24 of 95
                   DAS DIRECT BY MR.   LEACH                                         5831


02:35PM    1       TIME PERIODS (ACROSS ALL ANALYTES TESTED) OF ABRUPT SHIFTS IN

O2:35PM    2       QC TARGET MEANS."

02:35PM    3            WHAT DOES THAT MEAN?

O2:35PM    4       A.   PLEASE GIVE A MINUTE TO REVIEW THAT.

O2:35PM    5            (PAUSE IN PROCEEDINGS.)

02:35PM    6                   THE WITNESS:    SO THAT FIRST PART MEANS THAT THE

02:35PM    7       AVERAGE VALUES OF QUALITY CONTROL, THE TARGETS THAT WE WERE

02:36PM    8       TRYING TO REACH, OR THAT THE LABORATORY WAS TARGETING, WERE

02:36PM    9       BEING SHIFTED UNEXPLAINEDLY.

02:36PM   10       BY MR. LEACH:

02:36PM   11            "HIGH RATES OF 1-2S QC RULE FAILURES."

02:36PM   12            WHAT IS MEANT BY "1-2S"?

02:36PM   13       A.   SO THIS 1-2S ACTUALLY REFERS TO THE SAME QC RULE FAILURES

02:36PM   14       THAT THE CMS INSPECTORS WERE NOTING IN THAT D TAG.     I BELIEVE

02:36PM   15       IT WAS 5791, I BELIEVE.     SO THEY CALL IT A --

02:36PM   16            AND THE 1-2S, THAT'S STANDARD DEVIATIONS?

02:36PM   17       A.
                   A    YES.   SO THE 2S REFERS TO 2 SD ANALOGOUS TO WHAT IS BEING

02:36PM   18      REFERRED TO IN THE D TAG.

02:36PM   19       Q.   AND "QC CV'S FAR EXCEEDING LIMITS FOR A STABLE TESTING

02:36PM   20       PROCESS."

02:36PM   21            WHAT DID THAT MEAN?

O2:36PM   22       A.   TO SIMPLIFY THAT ONE A BIT, IT JUST MEANS THAT THERE WAS A

O2:37PM   23       LOT OF IMPRECISION NOTED.

02:37PM   24       Q.   AND IS IMPRECISION DESIRABLE OR UNDESIRABLE?

02:37PM   25       A.   UNDESIRABLE.




                                        UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 25 of 95
                    DAS DIRECT BY MR. LEACH                                           5847



03:28PM     1      REVIEWED FRAM JUNE 2014 THROUGH NOVEMBER 2014 AND JANUARY

03:28PM     2      THROUGH FEBRUARY 2015 FOR VITAMIN B12, VITAMIN D, AND SEX

03:28PM     3      HORMONE BINDING GLOBULIN WHICH WERE USED FOR PATIENT TESTING ON

03:28PM     4      THE TPS DEVICES."

03:28PM     5            DO YOU SEE THAT LANGUAGE?

03:28PM     6      A.    YES.

03:28PM     7      Q.    AND IS THIS ALSO DATA THAT YOU REVIEWED IN THE COURSE OF

03:28PM     8       YOUR WORK?

03:28PM     9      A.    YES.

03:28PM    10      Q.    IN C IT SAYS, "VITAMIN B12 QC LEVEL 1 AND LEVEL 3 ON

03:28PM    11       DEVICE E 110 REVEALED THE FOLLOWING PERCENT CV:     34.3 PERCENT

03:28PM    12      AND 48.5 PERCENT RESPECTIVELY FROM JANUARY 5TH, '15 THROUGH

03:29PM    13      1-30-15."

03:29PM    14            DO YOU SEE THAT LANGUAGE?

03:29PM    15      A.    YES.

03:29PM    16      Q.    AND THE DEVICE E 110, DID YOU UNDERSTAND THAT TO REhR TO

03:29PM    17      A PARTICULAR EDISON DEVICE WITHIN THE LAB?      DID YOU UNDERSTAND

03:29PM    18      THAT TO REFER TO A DEVICE WITHIN THE LAB?

03:29PM    19      A.    YES.

03:29PM    20      Q.    AND THE QC LEVEL 1 AND LEVEL 3, WHAT DID YOU UNDERSTAND

03:29PM    21      THOSE TO REFER TO?

03:29PM    22      A.    THOSE ARE DIFE.hRENT LEVELS OF THE RESPECTIVE TEST QC, IN

03:29PM    23      THIS CASE VITAMIN B12.

03:29PM    24      Q•    AND CAN YOU -- AND WHAT IS THE PURPOSE OF DIFFERENT

03:291,m   25      LEVELS?




                                       UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 26 of 95
                   DAS DIRECT BY MR. LEACH                                           5848



03:29PM    1      A.    A LABORATORY IS REQUIRED TO RUN MULTIPLE LEVELS FOR EVERY

03:29PM    2      QUANTITATIVE TEST, SO --

03:29PM    3      Q•    SO A HIGH LEVEL, A LOW LEVEL, SOMETHING IN BETWEEN?

03:29PM    4      A.    CORRECT.

03:29PM    5      Q•    OKAY.   AND THIS SAYS THE QC LEVEL 1 AND 3 WERE 34.3 AND

03:29PM    6      48.5 PERCENT.

03:29PM    7            WHAT WAS -- WHAT DID YOU UNDERSTAND THAT TO MEAN?

03:30PM    8      A.    IT APPEARS THEY'RE REFERENCING THOSE PARTICULAR LEVELS FOR

03:30PM    9      THOSE QC.

03:30PM   10      Q     AND ARE THESE DESIRABLE LEVELS OF QC OR UNDESIRABLE LEVELS

03:30PM   11      OF QC?

03:30PM   12      A.    THOSE WOULD BE UNDESIRABLE.

03:30PM   13      Q.    AND IS THIS SOMETHING THAT YOU LOOKED INTO AS THE

03:30PM   14       LABORATORY DIRECTOR?

03:30PM   15      A.    YES.

03:30PM   16      Q.    AND IF WE COULD ZOOM IN.

03:30PM   17            IN D THERE'S SOME REFERENCE TO VITAMIN B12, QC1, AND QC3

03:30PM   18      ON DEVICE E 1085.

03:30PM   19            IS THIS SIMILAR INFORMATION RELATING TO A DIFFERENT EDISON

03:30PM   20       DEVICE THAT WAS BEING USED IN THE CLIA LAB?

03:30PM   21      A.    YES.

03:30PM   22      Q.    AND IS THAT SOMETHING THAT YOU INVESTIGATED?

03:30PM   23      A.    YES.

03:30PM   24      Q.    IF WE CAN ZOOM OUT, MS. HOLLIMAN, AND LOOK AT E THROUGH L,

03:30PM   25      OR E THROUGH LITTLE I.




                                      UNITED STATES COURT REPORTERS
                  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 27 of 95
                      DAS DIRECT BY MR. LEACH                                            5854



03:39PM      1       Q     AND DID --

03:39PM      2                    MR. WADE:     YOUR HONOR, PARDON ME.   JUST MOVE TO

03:39PM      3       STRIKE ON 702 GROUNDS.

03:39PM      4                    THE COURT:    I'M GOING TO SUSTAIN THE OBJECTION.

03:39PM      5             AND THAT LAST PORTION IS STRICKEN, LADIES AND GENTLEMEN.

03:39PM      6       BY MR. LEACH:

03:39PM      7       Q.    DID YOU -- IN COMMUNICATING TO CMS, DID YOU DESCRIBE THE

03:39PM      8       BASES -- DID YOU TELL CMS THAT THERANOS WAS VOIDING PT INR

03:39PM      9       TESTS?

03:39PM     10       A.    YES.

03:39PM     1 1      Q.    AND DID YOU EXPLAIN TO THEM WHY THERANOS WAS DOING THAT?

03:39PM     12       A.    YES.

03:3 14.1   13       Q.    WHAT DID YOU TELL CMS?

03:40PM     14       A.    I DO NOT RECALL THE EXACT LANGUAGE, BUT IT REFLECTED THE

03:40PM     15       INACCURATE CALCULATIONS, AS WELL AS QUALITY CONTROL ISSUES AND

03:40PM     16       INACCURACIES REFLECTED IN THE PATIENT TEST RESULT

03:40PM     17        DISTRIBUTIONS.

03:40PM     18       Q.    LET'S GO FURTHER IN TIME IN THIS DOCUMENT TO PAGE 41.         IF

03:40PM     19        WE CAN HIGHLIGHT D THROUGH H        OR ACTUALLY D THROUGH I.      I'M

03:40PM     20       SORRY, MS. HOLLIMAN.

03:40PM     21             DO YOU SEE, DR. DAS, IN D WHERE IT SAYS, "ON

03:40PM     22       SEPTEMBER 7TH, 2015, CITROL 3 WAS RUN SEVEN TIMES WITHOUT

03:41PM     23       OBTAINING AN ACCEPTABLE QC VALUE"?

03:41PM     24       A.    YES.

03:41PM     25       Q.    AND FURTHER DOWN IN I, IT SAYS, "81 PATIENTS WERE REPORTED




                                         UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 28 of 95
                    DAS DIRECT BY MR. LEACH                                           5855



03:41PM    1        FROM APRIL 1ST, 2015 THROUGH 9/16/15."

03:41PM    2             DO YOU SEE THAT LANGUAGE?

03:41PM    3        A.   YES.

03:41PM    4        Q.   AND WHAT WAS THE THRUST OF THE DEFICIENCY AS YOU

03:41PM    5        UNDERSTOOD IT THAT WAS BEING BROUGHT TO YOUR ATTENTION?

03:41PM    6        A.   WHAT IS BEING REFERENCED HERE IS THAT PATIENT RESULTS WERE

03:41PM    7       RECORDED WHEN QUALITY CONTROLS WERE NOT RECORDED.

03:41PM    8        Q.   AND EXPLAIN WHY THAT'S, EXPLAIN WHY THAT'S AN ISSUE.

03:41PM    9        A.   QUALITY CONTROL MUST BE RUN DAILY WHEN PATIENT TEST

03:41PM   10        RESULTS ARE BEING RUN ON ANY ASSAY.

03:41PM   1 1       Q.   SO IF YOU RUN QUALITY CONTROL AND YOU FAIL QUALITY CONTROL

03:41PM   12        FOR WHATEVER REASON, YOU SHOULDN'T BE REPORTING A TEST?

03:41PM   13        A.   THAT'S RIGHT.

03:41PM   14        Q.   AND IS THIS LISTING EXAMPLES OF WHERE IT APPEARED THAT

03:41PM   15        THERANOS WAS RUNNING TESTS AFTER NOT PASSING QUALITY CONTROL?

03:41PM   16        A.   YES.

03:41PM   17                    MR. WADE:     YOUR HONOR, MOVE TO STRIKE.   IT'S BEYOND

03:42PM   18        THE SCOPE OF WHAT THE EVIDENCE IS OFFERED FOR.

03:42PM   19                    THE COURT:     YOU CAN ASK THAT IN A DIFFERENT WAY.

03:42PM   20        I'LL SUSTAIN THE OBJECTION AND STRIKE THAT ANSWER.

03:42PM   21        BY MR. LEACH:

03:42PM   22        Q.   AS PART OF YOUR WORK, DR. DAS, DID YOU INVESTIGATE WHETHER

O3:42PM   23        THERE WERE INSTANCES WHERE THERANOS REPORTED PATIENT RESULTS

03:42PM   24        AFTER NOT PASSING QUALITY CONTROL?

03:42PM   25        A.   YES.




                                       UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 29 of 95
                   DAS DIRECT BY MR. LEACH                                           5856



03:42PM    1       Q.   AND DID YOU FIND EXAMPLES OF THAT RELATING TO PT INR?

03:42PM    2       A.   YES.

03:92PM    3                   MR. WADE:     702, YOUR HONOR.

03:42PM    4                   THE COURT:     OVERRULED,

03:42PM    5       BY MR. LEACH:

03:42PM    6       Q.   YOU FOUND EXAMPLES OF THAT?

03:42PM    7       A.   YES.

O3:42PM    8       Q.   DID YOU ALSO -- LOOKING DOWN AT PARAGRAPH 2, DO YOU SEE

03:42PM            THAT THE FINDING HERE IS BASED ON A REVIEW OF THE QUALITY

03:42PM   10       CONTROL PROCEDURE, QC RECORDS, AND RAW DATA FROM PATIENT TEST

03:43PM   11       RUNS AND INTERVIEW WITH THE GENERAL SUPERVISOR, THE LABORATORY

03:43PM   12       FAILED TO ENSURE THAT THE QC WAS ACCEPTABLE FOR THE TPS SYSTEM,

03:43PM   13       OR THERANOS PROPRIETARY SYSTEM, PRIOR TO REPORTING PATIENT TEST

03:93PM   14       RESULTS.

03:93PM   15            DO YOU SEE THAT?

03:43PM   16       A.   YES.

03:43PM   17       Q.   IN YOUR MIND, WAS THIS RAISING A SIMILAR ISSUE WITH THE

03:43PM   18      EDISONS THAT WAS RAISED WITH RESPECT TO PT INR?

03:93PM   19       A.   YES.

03:43PM   20                   MR. WADE:     702, YOUR HONOR.

03:43PM   21                   THE COURT:     OVERRULED.

03:43PM   22       BY MR. LEACH:

03:43PM   23       Q.   AND DID YOU INVESTIGATE WHETHER THERE WERE INSTANCES WHERE

03:43PM   24       THERANOS REPORTED PATIENT RESULTS FROM THE EDISON DEVICE AFTER

03:43PM   25       FAILING QUALITY CONTROL?




                                      UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 30 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                  IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18                                 (754f-944xt.
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   NOVEMBER 9, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 31 of 95
                                                                           5873



1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                 SAN JOSE DIVISION

5
         UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                            PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                     VS.                          VOLUME 31
8
         ELIZABETH A. HOLMES,                     NOVEMBER 10, 2021
 9
                            DEFENDANT.            PAGES 5873 - 6145
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE            S:
14
        FOR THE PLAINTIFF:         UNITED STATES ATTORNEY'S OFFICE
15                                 BY: JOHN C. BOSTIC
                                        JEFFREY B. SCHENK
16                                 150 ALMADEN BOULEVARD, SUITE 900
                                   SAN JOSE, CALIFORNIA 95113
17
                                   BY:  ROBERT S. LEACH
18                                      KELLY VOLKAR
                                   1301 CLAY STREET, SUITE 340S
19                                 OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                            UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 32 of 95
                    DAS CROSS BY MR. WADE (RES.)                                      5937



10:05AM     1              ALSO, YOU CAN LOOK AT WHAT YOU WERE DESCRIBING, THE

10:05AM     2       DISTRIBUTIONS OF ABNORMALS VERSUS NORMALS, AND GET A SENSE OF

10:05AM     3       ANY SORT OF IMPRECISION IN THE ASSAY.

10:05AM     4              THERE'S VARIOUS WAYS TO LOOK AT THESE METRICS.   BUT, YES

10:05AM    5        IN GENERAL.

10:05AM     6       Q.     SO YOU ESSENTIALLY PLOT ALL OF THE RESULTS FOR THE

10:05AM     7       PATIENTS AND SORT OF LOOK AT AND ANALYZE THE DATA AND CONSIDER

10:05AM     8       WHETHER YOU CAN INFER ANYTHING FROM ALL OF THE RESULTS FOR THAT

10:05AM     9       PARTICULAR ASSAY?

lo:osm     10       A.     TO SOME EXTENT, YES.    WE MAKE CALCULATIONS BASED ON THE

10:05AM    11      ENTIRE DATA SET AND LOOK AT IT IN CHUNKS.       BUT, BUT OVERALL,

lo:osm     12       YES.

lo:o5m4    13       Q.     OKAY.   AND THESE, THESE THREE BUCKETS THAT YOU'RE TALKING

10:05AM    14       ABOUT, THIS IS A PRETTY SOPHISTICATED ANALYSIS; IS THAT FAIR?

10:05AM    15       A.     YES.

10:05AM    16       Q.     AND IT REQUIRED THE EXTRACTION OF A LOT OF DATA; RIGHT?

io:o6Am    17       A.     YES.

10:06AM    18       Q.     AND IT REQUIRED THE CONSIDERATION AND ANALYSIS OF A LOT OF

10:06AM    19       THAT DATA IN ORDER TO INFORM YOUR VIEWS; RIGHT?

10:06AM    20       A.     YES.

10:06AM    21              THIS IS NOT SOMETHING THAT IN YOUR VIEW SOMEONE WITHOUT

lo:o6m1    22      KNOWLEDGE AND TRAINING WOULD BE IN A POSITION TO DO; IS THAT

lo:o6All   23       FAIR?

10:06AM    24       A.     CORRECT.

10:06AM    25       Q.     OKAY.   AND AS A RESULT OF THAT COMBINATION OF INFORMATION,




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 33 of 95
                   DAS CROSS BY MR.   WADE   (RES.)                                  5953



10:27AM    1      A.    YES, I WAS USING THAT AS AN EXAMPLE.

10:27AM    2      Q.    AND MANY OF THE ANALYSES THAT YOU WERE DOING WERE PRETTY

10:28AM    3      TECHNICAL IN NATURE; RIGHT?

10:28AM    4      A.    YES.

10:28AM    5      Q.    AND MS. HOLMES'S DIDN'T HAVE THAT SORT OF TECHNICAL

10:28AM    6      BACKGROUND; RIGHT?

10:28AM    7      A.    YES.

10:28AM    8      Q.    AND SO YOU WERE TRYING -- AND SHE HAD NOT SUPERVISED THE

10:28AM    9      LAB PREVIOUSLY TO YOUR KNOWLEDGE; RIGHT?

10:28AM   10      A.    CORRECT.

10:28AM   11      Q.    AND SO YOU WERE TRYING TO KIND OF BRIEF HER IN ON SOME OF

10:28AM   12      THESE CONCEPTS AND EXPLAIN TO HER WHY YOU CAME TO THE VIEWS

10:28AM   13      THAT YOU CAME TO; IS THAT FAIR?

10:28AM   14      A.    YES.

10:28AM   15      Q.    AND SO WHILE DOING THAT, IS IT FAIR TO SAY THAT IN SOME

10:28AM   16       WAY YOU WERE DESCRIBING, OR TRYING TO DESCRIBE, THESE THREE

10:28AM   17      BUCKETS AND HOW YOUR VIEWS WERE INFORMED?

10:28AM   18      A.    YES.

10:28AM   19      Q.    AND YOU USED, AS AN EXAMPLE OF THAT, THE PSA ASSAY TO NOTE

10:28AM   20      THAT PSA WAS DETECTED IN SOME FEMALE PATIENTS, WHICH WAS

10:28AM   21       UNUSUAL; RIGHT?

10:28AM   22      A.    YES.

10:28AM   23      Q.    AND DID YOU COME TO UNDERSTAND THAT MS. HOLMES HAD

10:29AM   24      PROVIDED SOME KIND OF A STUDY BY ANOTHER ADVISOR THAT SUGGESTED

10:29AM   25      THAT PSA COULD SOMETIMES BE DETECTED IN FEMALES?




                                        UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 34 of 95
                   DAS CROSS BY MR. WADE (RES.)                                      5993



11:59AM    1      A.    I DON'T RECALL THE SPECIFIC OCCASIONS.


11:59AM    2      Q.    OKAY.   WELL, LET'S LOOK AT 10629.

11:59AM    3      A.    OKAY.

11:59AM    4      Q.    DOES THIS REFRESH YOUR RECOLLECTION OF MS. HOLMES ASKING

11:59AM    5       YOU TO PERFORM A REVIEW OF A STATEMENT THAT WAS GOING TO BE

11:59AM    6      PROVIDED TO MAKE SURE THAT IT WAS ACCURATE?

11:59AM    7      A.    YES.

11:59AM    8      Q.    AND THIS IS IN THE -- YOU RECALL HER DOING THAT IN LATE

11:59AM    9      MARCH OF 2016?

11:59AM   10      A.    YES, IT APPEARS SO.

12:00PM   11       Q•   OKAY.   I'D LIKE TO TALK A LITTLE MORE ABOUT SOME OTHER

12:00PM   12      REFORMS THAT YOU WERE WORKING ON WITHIN THE LAB DURING YOUR

12:00PM   13      TENURE AT THERANOS.

12:00PM   14            IF WE CAN GO TO 13333.    THAT'S ONE 1, FOUR 3'S.

12:00PM   15      A.    YES.

12:00PM   16      Q.    DO YOU RECALL THAT THERE WERE SOME ISSUES THAT AROSE IN

12:01PM   17      CONNECTION WITH -- OR ISSUES THAT YOU DISCOVERED IN CONNECTION

12:01PM   18      WITH REVIEWING THE WORK OF THE BUGS LAB?

12:01PM   19      A.    YES.

12:01PM   20      Q•    AND FOR THE BENEFIT OF THE JURY, WHAT IS THE BUGS LAB?

12:01PM   21      A.    IT WAS OUR CODE NAME FOR THE MICROBIOLOGY LAB IN NEWARK.

12:01PM   22      Q•    OKAY.   AND JUST GIVE US A SENSE OF WHAT THE MICROBIOLOGY

12:01PM   23      LAB WAS AND HOW IT DIFFERED FROM OTHER LABS.

12:01PM   24      A.    IT DIFFERED BY THE TYPE OF TESTING.     SO THIS TYPE OF

12:01PM   25      LABORATORY IS INVOLVED IN IDENTIFYING INFECTIOUS ORGANISMS.




                                      UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 35 of 95
                    DAS CROSS BY MR. WADE (RES.)                                       5994




12:01PM    1        Q    OKAY.    AND DOES THIS EMAIL RELATE TO, DOES THIS EMAIL

12:01PM    2       RELATE TO CONCERNS THAT YOU DISCOVERED OR ISSUES YOU DISCOVERED

12:01PM    3        IN CONNECTION WITH YOUR WORK AS LAB DIRECTOR?

12:02PM    4        A.   YES.

12:02PM    5                     MR. WADE:    MOVE THE ADMISSION OF 13333.

12:02PM    6                     MR. LEACH:    YOUR HONOR, I DON'T OBJECT TO THE BOTTOM

12:02PM    7        PORTION OF THE EMAIL.

12:02PM    8             THE TOP PORTION IS HEARSAY.

12:02PM    9             (PAUSE IN PROCEEDINGS.)

12:02PM   1 0                    MR. WADE:    I OFFER IT FOR THE STATE OF MIND OF

12:02PM   1 1       MS. HOLMES, NOT FOR THE TRUTH.

12:02PM   12                     THE COURT:    AS TO WHAT ISSUE?   AS TO WHAT ISSUE?

12:02PM   13                     MR. WADE:    AS TO THE REMEDIAL EFFORTS THAT WERE

12:02PM   14        BEING MADE WITHIN THE LAB.

12:02PM   15                     MR. LEACH:    IT'S AN OUT-OF-COURT STATEMENT BY A

12:02PM   16        NONTESTIFYING WITNESS, YOUR HONOR.       IT WAS THE SUBJECT OF A

12:02PM   17        MOTION IN LIMINE.

12:02PM   18                     THE COURT:    DO YOU HAVE ANY OBJECTION TO IT COMING

12:02PM   19        IN SOLELY FOR THE STATE OF MIND FOR REMEDIAL ISSUES AT THIS

12:03PM   20        TIME?

12:03PM   21                     MR. LEACH:    YES.

12:03PM   22                     THE COURT:    ALL RIGHT.   I'M GOING TO SUSTAIN THE

12:03PM   23        OBJECTION.

12:03PM   24                     MR. WADE:    OKAY.   I'M GOING TO OFFER -- I CAN REDACT

12:03PM   25        THAT EMAIL.




                                        UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 36 of 95
                    DAS CROSS BY MR. WADE (RES.)                                      5995




12:03PM    1                    THE COURT:    SURE.

12:03PM    2                    MR. WADE:    COULD I OFFER THE BOTTOM PORTION OF THE

12:03PM    3        DOCUMENT?

12:03PM    4                    THE COURT:    I THINK YOU CAN DO THAT, YES.

12:03PM    5             (DISCUSSION OFF THE RECORD WITH THE COURT AND CLERK.)

12:03PM    6                    THE COURT:    COUNSEL?

12:03PM    7                    MR. WADE:    MAY I PUBLISH?

12:03PM    8                    THE COURT:    YES.

12:03PM    9             (DEFENDANT'S EXHIBIT 13333, REDACTED, WAS RECEIVED IN

12:03PM   1 0     EVIDENCE.)

12:03PM   1 1       BY MR. WADE:

12:03PM   12        Q•   THIS EMAIL RELATES TO THE ISSUE WE WERE JUST DISCUSSING;

12:03PM   13        IS THAT CORRECT?

12:03PM   14        A.   YES.

12:03PM   15        Q•   AND IN THIS YOU NOTE SOME GOOD NEWS LAST NIGHT REGARDING

12:04PM   16        THE CAPILLARY DATA.

12:04PM   17             DO YOU SEE THAT?

12:04PM   18        A.   YES.

12:04PM   19        Q•   AND LET'S FOCUS ON THE BOTTOM EMAIL.     DO YOU SEE THAT THIS

12:04PM   20        IS WHAT REFERS TO THE BUGS LAB?

12:04PM   21        A.   YES.

12:04PM   22        Q•   IT SAYS -- YOU IDENTIFIED SOME CONCERNS WITHIN THAT LAB

12:04PM   23        THAT MAY JEOPARDIZE PATIENT CARE, "SO I'M BRINGING THAT ASSAY

12:04PM   24        DOWN."   AND IS THAT ASSAY REFERRING TO HIV?

12:04PM   25        A.   THAT IS.




                                       UNITED STATES COURT REPORTERS
               Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 37 of 95
                   DAS CROSS BY MR. WADE (RES.)                                      5996


12:04PM    1      Q•    OKAY.    AND THEN YOU NOTED, "AS WELL AS ALL OTHERS IN THE

12:04PM    2      BUGS LAB."

12:04PM    3            CORRECT?

12:04PM    4      A.    YES.

12:04PM    5      Q.    "AS THERE'S NO REASON TO GO ASSAY BY ASSAY IN OUR LOOK

12:04PM    6      BACK AFTER UNCOVERING SUCH ISSUES."

12:04PM    7            RIGHT?

12:04PM    8      A.    YES.

12:04PM    9      Q.    AND IS THAT FAIR TO SAY, THAT YOU WERE EFFECTIVELY

12:04PM   10      SHUTTING DOWN THE BUGS LAB?

12:04PM   11      A.    YES.

12:04PM   12      Q.    AND THAT'S BECAUSE, AS YOU WERE TURNING OVER THOSE ROCKS,

12:04PM   13       YOU CAME TO THE VIEW THAT THAT'S WHAT NEEDED TO BE DONE HERE;

12:05PM   14      RIGHT?

12:05PM   15      A.    YES.

12:05PM   16      Q.    AND WAS MS. HOLMES FULLY SUPPORTIVE OF YOUR DECISION TO DO

12:05PM   17      THAT?

12:05PM   18      A.    YES.

12:05PM   19      Q.    WAS TURNING OVER THOSE ROCKS AND FINDING THOSE ISSUES

12:05PM   20      EXACTLY WHAT SHE WANTED YOU TO DO WHEN SHE HIRED YOU?

12:05PM   21                    MR. LEACH:   OBJECTION.   FOUNDATION.

12:05PM   22      BY MR. WADE:

12:05PM   23      Q.    DID YOU UNDERSTAND --

12:05PM   24                    THE COURT:   THIS IS A NEW QUESTION?

12:05PM   25                    MR. WADE:    YEAR.   I'LL WITHDRAW THE QUESTION.




                                       UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 38 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                  IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18                                 (754f-944xt.
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   NOVEMBER 10, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 39 of 95
                                                                           6574



1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                 SAN JOSE DIVISION

5
         UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                            PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                     VS.                          VOLUME 34
8
         ELIZABETH A. HOLMES,                     NOVEMBER 17, 2021
 9
                            DEFENDANT.            PAGES 6574 - 6779
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE            S:
14
        FOR THE PLAINTIFF:         UNITED STATES ATTORNEY'S OFFICE
15                                 BY: JOHN C. BOSTIC
                                        JEFFREY B. SCHENK
16                                 150 ALMADEN BOULEVARD, SUITE 900
                                   SAN JOSE, CALIFORNIA 95113
17
                                   BY:  ROBERT S. LEACH
18                                      KELLY VOLKAR
                                   1301 CLAY STREET, SUITE 340S
19                                 OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                            UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 40 of 95
                   T           DIRECT BY MR. BOSTIC                                   6758



03:22PM    1       A.    YES.    I MADE A DIRECT CALL TO THE NUMBER FOR THERANOS AND

03:22PM    2       ASKED IF I COULD SPEAK WITH SOMEONE WORKING IN A LAB WHO COULD

03:22PM    3       EXPLAIN TO ME HOW THIS IS POSSIBLE.

03:22PM    4       Q.    AND HOW SOON AFTER RECEIVING THESE RESULTS DID YOU CALL

03:22PM    5       THE COMPANY?

03:22PM    6       A.    FROM THE DAY -- IT WAS EITHER ON THE DAY THAT I RECEIVED

03:22PM    7       THEM OR THE FOLLOWING DAY.

03:22PM    8       Q.    SO I UNDERSTAND WE'RE TALKING ABOUT MAY 2015?

03:22PM    9       A.    UH-HUH.

03:22PM   1 0      Q.    WHAT, IF ANYTHING, DO YOU REMEMBER ABOUT THAT CONVERSATION

03:22PM   1 1      WITH SOMEONE AT THE COMPANY?

03:22PM   12       A.    I REMEMBER ASKING IF I COULD BE TRANSFERRED TO SOMEONE WHO

03:22PM   13        WORKS WITH THE LAB EQUIPMENT WHO MIGHT BE ABLE TO HAVE A MORE

03:22PM   14       IN-DEPTH CONVERSATION WITH ME ABOUT HOW THIS IS POSSIBLE.

03:23PM   15             SHE SAID SHE WAS A CUSTOMER SERVICE REPRESENTATIVE AND SHE

03:23PM   16       COULDN'T TRANSFER ME, AND THAT WAS ABOUT IT.

03:23PM   17             I DON'T RECALL IF I ATTEMPTED TO CALL THEM BACK AGAIN, BUT

03:23PM   18       I WAS QUITE EMOTIONAL AT THE TIME.

03:23PM   19       Q.    AT ANY TIME TO YOUR KNOWLEDGE DID YOU SPEAK TO A SCIENTIST

03:23PM   20       OR A MEDICAL PROFESSIONAL --

03:23PM   21       A.    NO.

03:23PM   22       Q.    -- ASSOCIATED WITH THERANOS?

03:23PM   23       A.    NO.

03:23PM   24       Q.    TO YOUR KNOWLEDGE, DID YOU GET A CALL BACK FROM THE

03:23PM   25       COMPANY TO PROVIDE MORE INFORMATION ABOUT YOUR TEST RESULTS?




                                         UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 41 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                  IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18                                 (754f-944xt.
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   NOVEMBER 17, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 42 of 95
                                                                           7922



1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                 SAN JOSE DIVISION

5
         UNITED STATES OF AMERICA,                CR-18-00258-EJD
 6
                            PLAINTIFF,            SAN JOSE, CALIFORNIA
 7
                     VS.                          VOLUME 40
8
         ELIZABETH A. HOLMES,                     NOVEMBER 30, 2021
 9
                            DEFENDANT.            PAGES 7922 - 8213
10

11
                         TRANSCRIPT OF TRIAL PROCEEDINGS
12                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        APPEARANCE            S:
14
        FOR THE PLAINTIFF:         UNITED STATES ATTORNEY'S OFFICE
15                                 BY: JOHN C. BOSTIC
                                        JEFFREY B. SCHENK
16                                 150 ALMADEN BOULEVARD, SUITE 900
                                   SAN JOSE, CALIFORNIA 95113
17
                                   BY:  ROBERT S. LEACH
18                                      KELLY VOLKAR
                                   1301 CLAY STREET, SUITE 340S
19                                 OAKLAND, CALIFORNIA 94612

20            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER




                            UNITED STATES COURT REPORTERS
                Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 43 of 95
                   HOLMES CROSS BY MR. LEACH (RES.)                                   8000



10:24AM    1       Q.    AND WAS THIS PART OF YOUR EFFORT TO GET MR. MURDOCH TO

10:24AM    2       QUASH THE STORY THAT JOHN CARREYROU WAS WRITING?

10:24AM    3       A.    IT WAS PART OF MY EFFORT TO GET MR. MURDOCH TO MAKE SURE

10:24AM    4       THAT OUR TRADE SECRETS WERE NOT PUBLISHED.

10:25AM    5       Q.    YOU KEEP INJECTING TRADE SECRETS, AND I PROMISE WE WILL

10:25AM    6       GET TO TRADE SECRETS.

10:25AM    7             MY QUESTION WAS, YOU TESTIFIED THAT YOU ATTEMPTED TO QUASH

10:25AM    8       THE STORY.    I'M JUST TRYING TO UNDERSTAND, IS THIS PART OF THAT

10:25AM    9       EFFORT?

10:25AM   1 0      A.    NO.   I THINK AT THIS POINT WE WERE NOT TRYING TO QUASH IT.

10:25AM   1 1      Q.    YOU WERE TRYING TO QUASH IT SOMETIME LATER?

10:25AM   12       A.    ONCE WE UNDERSTOOD THAT OUR TRADE SECRETS WERE GOING TO BE

10:25AM   13       DISCLOSED.

10:25AM   14       Q.    WELL, LET'S LOOK AT WHAT YOU WROTE.

io:25Am   15             YOUR HONOR, I NEED TO DISPLAY IT ON THE ELMO.        I'M PUTTING

10:25AM   16       A POST IT OVER SOMETHING THAT I DON'T THINK IS PUBLIC.

10:25AM   17                    THE COURT:    ARE YOU MOVING THIS IN?

10:25AM   18                    MR. LEACH:    IF I HAVE NOT MOVED IT IN, I MOVE IT IN.

10:25AM   19                    MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

10:25AM   20                    THE COURT:    AND JUST TO BE CLEAR, THIS IS

10:25AM   21       EXHIBIT 5704?

10:26AM   22                    MR. LEACH:    YES, YOUR HONOR.

lo:26am   23                    THE COURT:    ALL RIGHT.   THANK YOU.   IT'S ADMITTED.

10:26AM   24             (GOVERNMENT'S EXHIBIT 5704 WAS RECEIVED IN EVIDENCE.)

10:26AM   25       BY MR. LEACH:




                                       UNITED STATES COURT REPORTERS
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 44 of 95


1

 2

 3                           CERTIFICATE OF REPORTERS

 4

5

 6

 7            WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

8        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15

16
                                       enA           Ili
                                  IRENE RODRIGUEZ, CSR, CRR
                                  CERTIFICATE NUMBER 8076
17

18                                 (754f-944xt.
19                                LEE-ANNE SHORTRIDGE, CSR, CRR
                                  CERTIFICATE NUMBER 9595
20

21                                DATED:   NOVEMBER 30, 2021

22

23

24

25




                           UNITED STATES COURT REPORTERS
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 45 of 95




                    Exhibit 52
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 46 of 95




         United States v. Elizabeth Holmes & Ramesh Balwani, CR 18-258 EJD (N.D. Cal.),
                    Expert Report of Stephen Master, MD, PhD, FCAP, FAACC


                                          March 6, 2020



I. Qualifications

        I received my undergraduate degree in molecular biology from Princeton University and

my MD and PhD (cell and molecular biology) from the University of Pennsylvania School of

Medicine. I then did a residency in Clinical Pathology at the Hospital of the University of

Pennsylvania, including time serving as Chief Resident in Clinical Pathology. After completing

my residency, I spent a postdoctoral year as a research associate at Penn prior to joining the

faculty as Assistant Professor of Pathology and Laboratory Medicine. During my time at Penn, I

was appointed Medical Director of the Endocrinology Laboratory at the Hospital of the

University of Pennsylvania, and I also spent 5 years as director of the University of Pennsylvania

translational core laboratory. In 2015 I moved to Cornell as a faculty member at Weill Cornell

Medical Center in New York City, where I was director of the Central Laboratory and Chief of

Clinical Chemistry Laboratory Services at Weill Cornell Medicine / New York Presbyterian

Hospital. In 2018 I returned to Philadelphia at the Children’s Hospital of Philadelphia, where I

currently serve as Chief of the Division of Laboratory Medicine, Medical Director of the Michael

Palmieri Laboratory for Metabolic and Advanced Diagnostics, and Associate Professor of

Pathology and Laboratory Medicine at the Perelman School of Medicine, University of

Pennsylvania.




                                                1
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 47 of 95




       I am Board Certified by the American Board of Pathology (ABP) in Clinical Pathology, and

I have additional subspecialty Board Certification from ABP in Clinical Informatics. I hold an

active medical license in Pennsylvania. I am a Fellow of the College of American Pathologists as

well as of the Academy of the American Association for Clinical Chemistry. I serve on the Board

of Editors of the journal Clinical Chemistry, as well being an Associate Editor of Clinical

Proteomics and Section Editor in Clinical Chemistry for the Archives of Pathology and

Laboratory Medicine. I have been active professionally in the American Association for Clinical

Chemistry, having served on their Board of Directors for five years. I serve as a member of the

Harmonization Oversight Group of the International Council for the Harmonization of Clinical

Laboratory Results. I currently have over 75 publications, including original research articles,

reviews, and book chapters. In addition, I have lectured extensively at a national and

international level on a variety of subjects related to Clinical Chemistry, including new

paradigms for quality control. Of note, I was a member of the panel that facilitated questions

and answers following the Theranos presentation at the 2016 annual meeting of the American

Association for Clinical Chemistry.

       My CV is attached as Appendix A.



II. Scope of Assignment

       I have been retained by the United States Attorney’s Office for the Northern District of

California to testify as an expert witness in this matter. For purposes of this report, I was asked

to provide opinions on whether Theranos was market ready and able to produce accurate and

reliable fingerstick results for tests such as Vitamin D, chloride, potassium, bicarbonate, HIV,



                                                  2
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 48 of 95




HbA1c, hCG, cholesterol, and sodium, whether Theranos adhered to normal industry standards

for clinical laboratory testing from 2013-2015, and whether any lack of adherence had the

potential to adversely impact test accuracy and reliability. This report is intended to summarize

my opinions and my anticipated testimony. I reserve the right to supplement or revise this

report or to address additional questions if asked and based on additional information received

and the evidence presented at trial. My compensation is $400 per hour. This report and the

opinions contained herein are based on my training in clinical pathology and chemistry, my

experience as a laboratory medical director, and my knowledge of standards and best practices

as established by federal regulations and by the College of American Pathologists (“CAP”). I

also considered publicly available information, scholarly research, and materials produced in

discovery in this case, which are identified in Appendix B.



III. Background on Blood Testing

Blood Testing: Samples

       Modern blood testing in the clinical laboratory begins with collection of a patient

sample. Traditionally, this is performed using a needle that punctures a vein in the arm, and

this process is called venipuncture. The blood that is collected from the vein in this way is

called venous blood. A second way of collecting blood involves using a sharp lancet to puncture

the end of a finger or (in the case of a newborn) the heel of a foot. The blood that is collected

from these sources is known as capillary blood, because it comes from the very small blood

vessels known as capillaries. In certain hospital settings, blood is collected from an artery

(“arterial blood”). As oxygen-filled blood travels through arteries, then into capillaries, and



                                                 3
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 49 of 95




the assay is “out of control”. An assay that fails quality control requires some sort of

intervention, whether that is recalibration of the assay, or something more significant. If an

assay is found to be out of control after continuously running samples, the lab would need to

determine whether the issues with the assay affected patient results that should be corrected

or cancelled.



IV. Summary of Opinions

Preliminary comments

       Based on the documents that I reviewed, my understanding is that there were two

primary methods that Theranos employed to measure analytes from fingerstick blood samples

collected in small devices (“CTNs”). First, they had developed an instrument (often referred to

as “Edison”, version 3.5) that performed immunoassays. Second, they used Tecan liquid

handlers to dilute small samples and run them on traditional clinical chemistry analyzers

obtained from other vendors (predominantly Siemens Diagnostics). Because neither of these

approaches used unmodified, FDA-cleared or approved assays in an unmodified form, they are

both considered laboratory-developed tests (note that I am not here taking a position on the

FDA’s role in regulating these laboratory-developed test, simply pointing out their classification

under CLIA). There is a third class of testing that Theranos was performing using traditional

venous samples on FDA-approved or cleared instruments from third-party vendors. I will not

make many comments about this last class of testing, since it is identical to the testing

performed in most labs in the U.S.




                                                11
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 50 of 95



                           Appendix B : Documents Provided

39. Superseding Indictment.pdf   PANGARKAR, CHINMAY 12-11-2018_CONF_mini.pdf
COLAB-03032.pdf                  THPFM0000277148.pdf
THER-AZ-00015739.pdf             THPFM0002240153-277 (1-25-2016 CMS Ltr).pdf
THER-AZ-00015752.pdf
THER-AZ-00025873.pdf             EX_224-SEC-TX-000006861.pdf
THER-AZ-00027137.pdf             EX_203-SEC-TX-000005684.pdf
THER-AZ-00041624.pdf             EX_207-SEC-TX-000005741.pdf
THER-AZ-00044220.pdf             EX_208-SEC-TX-000005744.pdf
THER-AZ-00048696.pdf             EX_232-SEC-TX-000006992.pdf
THER-AZ-00057896.pdf             EX_263-SEC-TX-000007009.pdf
THER-AZ-00107535.pdf             EX_221-SEC-TX-000006261.pdf
THER-AZ-00107553.pdf             EX_265-SEC-TX-000007018.pdf
THER-AZ-00107599.pdf             EX_217-SEC-TX-000005787.pdf
THER-AZ-00107615.pdf             EX_201-SEC-TX-000005619.pdf
THER-AZ-00240244.pdf             EX_230-SEC-TX-000006981.pdf
THER-AZ-00258884.pdf             EX_214-SEC-TX-000005776.pdf
THER-AZ-00265965.pdf             EX_202-SEC-TX-000005683.pdf
THER-AZ-00272941.pdf             EX_220-SEC-TX-000006245.pdf
THER-AZ-00289661.pdf             EX_213-SEC-TX-000005771.pdf
THER-AZ-00289698.pdf             EX_206-SEC-TX-000005701.pdf
THER-AZ-00289809.pdf             EX_215-SEC-TX-000005783.pdf
THER-AZ-00290926.pdf             EX_212-SEC-TX-000005770.pdf
THER-AZ-00294920.pdf             EX_223-SEC-TX-000006854.pdf
THER-AZ-00326134.pdf             EX_262-SEC-TX-000007007.pdf
THER-AZ-00361651.pdf             EX_210-SEC-TX-000005749.pdf
THER-AZ-00361665.pdf             EX_226-SEC-TX-000006865.pdf
THER-AZ-00361672.pdf             EX_264-SEC-TX-000007012.pdf
THER-AZ-00361741.pdf             EX_231-SEC-TX-000006985.pdf
THER-AZ-00381746.pdf             EX_227-SEC-TX-000006955.pdf
THER-AZ-00381902.pdf             EX_211-SEC-TX-000005761.pdf
THER-AZ-00381940.pdf             EX_218-SEC-TX-000005924.pdf
THER-AZ-00381945.pdf             EX_204-SEC-TX-000005686.pdf
THER-AZ-00382007.pdf             EX_222-SEC-TX-000006850.pdf
THER-AZ-00383659.pdf             EX_267-SEC-TX-000007119.pdf
THER-AZ-00394054.pdf             EX_216-SEC-TX-000005785.pdf
THER-AZ-00567415.pdf             EX_266-SEC-TX-000007096.pdf
THER-AZ-00631426.pdf             EX_209-SEC-TX-000005748.pdf
THER-AZ-00655855.pdf             EX_261-SEC-TX-000007006.pdf
THER-AZ-00658025.pdf             EX_205-SEC-TX-000005696.pdf
THER-AZ-00748071.pdf             EX_228-SEC-TX-000006958.pdf
THER-AZ-00760817.pdf             EX_219-SEC-TX-000006234.pdf
THER-AZ-00784304.pdf             EX_225-SEC-TX-000006864.pdf
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 51 of 95




THER-AZ-00854722.pdf         EX_229-SEC-TX-000006965.pdf
THER-AZ-01032770.pdf
THER-AZ-01241351.pdf         SEC-TX-000005499.pdf
THER-AZ-01364813.pdf         SEC-TX-000005379.pdf
THER-AZ-01371988.pdf         SEC-TX-000005256.pdf
THER-AZ-01382947.pdf
THER-AZ-01384212.pdf         2015 4 16.pdf
THER-AZ-01384213.pdf         2014 11 24 SB concerned about redraws focus on ADVIAs.pdf
THER-AZ-01627558.pdf         2015 3 20 PT problems specific assays.pdf
THER-AZ-01643987.pdf         2014 10 7.pdf
THER-AZ-01814302.pdf         2014 2 12 only 11 assays with signed validation reports.pdf
THER-AZ-01834407.pdf         2014 10 6 TSH VitD.pdf
THER-AZ-01834457.pdf         2014 2 5 T4 T3 Testost FSH Erika doesnt feel comfortable running
THER-AZ-01834598.pdf          patient sample.pdf
THER-AZ-01964673.pdf         2014 2 26 Vit D TPSA FT4 TSH SB complain more QC work.pdf
THER-AZ-01980804.pdf         2015 8 16 A1c.pdf
THER-AZ-02178752.pdf         2013 11 30 Vit D QC controls failed.pdf
THER-AZ-02202037.pdf         2014 6 24.pdf
THER-AZ-02202444.pdf         2013 11 30 v2 Vit D.pdf
THER-AZ-02202599.pdf         2013 12 15.pdf
THER-AZ-02202656.pdf         2015 10 20.pdf
THER-AZ-02202676.pdf         2015 11 10 Suraj discourage.pdf
THER-AZ-02203176.pdf         2013 9 15 Vit D.pdf
THER-AZ-02203225.pdf         2014 4 23 HCG.pdf
THER-AZ-02219480.pdf         2014 9 20.pdf
THER-AZ-02290798.pdf         2014 2 23 Vit D SB Suraj.pdf
THER-AZ-02317961.pdf         2014 2 5 V2 T4 T3 Testost FSH Erika doesnt feel comfortable
THER-AZ-02318740.pdf           running patient sample.pdf
THER-AZ-02347548.pdf         2015 11 15.pdf
THER-AZ-02348228.pdf         2014 11 24 SB Suraj discuss Suraj becoming LD.pdf
THER-AZ-02352943.pdf         2015 1 10.pdf
THER-AZ-02447705.pdf         2014 2 21 Suraj SB transition Tyler.pdf
THER-AZ-02483587.pdf         2015 10 19.pdf
THER-AZ-02487262.pdf         2014 3 14 SB VitD looks good.pdf
THER-AZ-02502298.pdf         2014 4 13.pdf
THER-AZ-02547993.pdf
THER-AZ-02775612.pdf         ROSENDORFF, M.D., ADAM 02-26-2019_CONF_mini.pdf
THER-AZ-03274129.pdf         MOI_ARosendorff_2016.07.22 (reduced).pdf
THER-AZ-03274555.pdf         MOI_ARosendorff_2017.06.07 (reduced).pdf
THER-AZ-03274788.pdf         MOI_ARosendorff_2018.01.12.pdf
THER-AZ-03311173.pdf
THER-AZ-03392468.pdf         Rosendorff, Adam.pdf (Rosendorff Deposition in Colman)
THER-AZ-03416369.pdf         Young, Daniel.pdf (Young Deposition in Colman)
THER-AZ-03540517.pdf
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 52 of 95




THER-AZ-03541775.pdf         MOI_DYoung_2017.10.26.pdf
THER-AZ-03557708.pdf         MOI_DYoung_2017.10.26 (reduced) 2 of 2.pdf
THER-AZ-03563629.pdf         MOI_DYoung_2017.12.07.pdf
THER-AZ-03563962.pdf         MOI_DYoung_2017.10.26 (reduced) 1 of 2.pdf
THER-AZ-03563981.pdf         MOI_DYoung_2017.09.25.pdf
THER-AZ-03582349.pdf         MOI_DYoung_2018.02.08.pdf
THER-AZ-03582372.pdf
THER-AZ-03582536.pdf         SEC-TX-000007818.pdf
THER-AZ-03587251.pdf         SEC-TX-000007446.pdf
THER-AZ-03587568.pdf         SEC-TX-000007288.pdf
THER-AZ-03588530.pdf         SEC-TX-000007122.pdf
THER-AZ-03604803.pdf
THER-AZ-03605271.pdf         EX_238-SEC-TX-000007949.pdf
THER-AZ-03605347.pdf         EX_252-SEC-TX-000008069.pdf
THER-AZ-03605373.pdf         EX_240-SEC-TX-000007961.pdf
THER-AZ-03605469.pdf         EX_259-SEC-TX-000008448.pdf
THER-AZ-03605840.pdf         EX_233-SEC-TX-000007900.pdf
THER-AZ-03605862.pdf         EX_268-SEC-TX-000008455.pdf
THER-AZ-03606267.pdf         EX_257-SEC-TX-000008442.pdf
THER-AZ-03607910.pdf         EX_250-SEC-TX-000008062.pdf
THER-AZ-03608265.pdf         EX_260-SEC-TX-000008451.pdf
THER-AZ-03608306.pdf         EX_251-SEC-TX-000008064.pdf
THER-AZ-03608331.pdf         EX_245-SEC-TX-000007980.pdf
THER-AZ-03608389.pdf         EX_246-SEC-TX-000007992.pdf
THER-AZ-03608431.pdf         EX_254-SEC-TX-000008168.pdf
THER-AZ-03608447.pdf         EX_236-SEC-TX-000007945.pdf
THER-AZ-03608513.pdf         EX_256-SEC-TX-000008175.pdf
THER-AZ-03608623.pdf         EX_235-SEC-TX-000007906.pdf
THER-AZ-03632615.pdf         EX_247-SEC-TX-000008043.pdf
THER-AZ-03632625.pdf         EX_248-SEC-TX-000008048.pdf
THER-AZ-03643024.pdf         EX_244-SEC-TX-000007979.pdf
THER-AZ-03643649.pdf         EX_241-SEC-TX-000007974.pdf
THER-AZ-03643771.pdf         EX_258-SEC-TX-000008445.pdf
THER-AZ-03644656.pdf         EX_243-SEC-TX-000007978.pdf
THER-AZ-03646400.pdf         EX_253-SEC-TX-000008080.pdf
THER-AZ-03660456.pdf         EX_249-SEC-TX-000008058.pdf
THER-AZ-03692624.pdf         EX_239-SEC-TX-000007953.pdf
THER-AZ-03692639.pdf         EX_255-SEC-TX-000008173.pdf
THER-AZ-03720792.pdf         EX_234-SEC-TX-000007905.pdf
THER-AZ-03732961.pdf         EX_237-SEC-TX-000007946.pdf
THER-AZ-03743859.pdf         EX_242-SEC-TX-000007976.pdf
THER-AZ-03746331.pdf
THER-AZ-03843551.pdf         SEC-USAO-EPROD-000398999_image.pdf
THER-AZ-03844930.pdf         SEC-USAO-EPROD-003097371_image.pdf
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 53 of 95




THER-AZ-03848984.pdf         Copy of SEC-USAO-EPROD-000415631.xlsx
THER-AZ-03854750.pdf         SEC-USAO-EPROD-000957184_image.pdf
THER-AZ-03873921.pdf         THER-0278433_image.pdf
THER-AZ-03875390.pdf         SEC-USAO-EPROD-003896671_image.pdf
THER-AZ-03875496.pdf         SEC-USAO-EPROD-006037582_image.pdf
THER-AZ-03877622.pdf         SEC-USAO-EPROD-000883746_image.pdf
THER-AZ-03888076.pdf         SEC-USAO-EPROD-000659926_image.pdf
THER-AZ-03895851.pdf         THPFM0000277045_image.pdf
THER-AZ-03896752.pdf         SEC-USAO-EPROD-000415631_image.pdf
THER-AZ-03939952.pdf         THER-0307522_image.pdf
THER-AZ-03944045.pdf         THER-0278543_image.pdf
THER-AZ-03971143.pdf         Copy of SEC-USAO-EPROD-003208807.xlsx
THER-AZ-03971894.pdf         SEC-USAO-EPROD-006037575_image.pdf
THER-AZ-03971935.pdf         SEC-USAO-EPROD-003208805_image.pdf
THER-AZ-03971955.pdf         Copy of SEC-USAO-EPROD-003208806.xlsx
THER-AZ-04008648.pdf         SEC-USAO-EPROD-000415616_image.pdf
THER-AZ-04207456.pdf         TS-0883810_image.pdf
THER-AZ-04207655.pdf         SEC-USAO-EPROD-000711204_image.pdf
THER-AZ-04210675.pdf         SEC-USAO-EPROD-000957215_image.pdf
THER-AZ-04211602.pdf
THER-AZ-04213928.pdf
THER-AZ-04214079.pdf
THER-AZ-04214569.pdf
THER-AZ-04241922.pdf
THER-AZ-04243388.pdf
THER-AZ-04243405.pdf
THER-AZ-04245315.pdf
THER-AZ-04246369.pdf
THER-AZ-04246397.pdf
THER-AZ-04246696.pdf
THER-AZ-04250267.pdf
THER-AZ-04253546.pdf
THER-AZ-04253606.pdf
THER-AZ-04303806.pdf
THER-AZ-04316444.pdf
THER-AZ-04329378.pdf
THER-AZ-04353487.pdf
THER-AZ-04452882.pdf
THER-AZ-04486016.pdf
THER-AZ-04501976.pdf
THER-AZ-04518172.pptm
THER-AZ-04518473.xlsx
THER-AZ-04521640.pdf
THER-AZ-04522281.xlsx
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 54 of 95




THER-AZ-04522841.xlsx
THER-AZ-04575022.xlsx
THER-AZ-04633447.pdf
THER-AZ-04681461.pptx
THER-AZ-04764557.xlsx
THER-AZ-04795805.pdf
THER-AZ-04796248.xlsx
THER-AZ-04810485.pptx
THER-AZ-04815984.xlsx
THER-AZ-04860064.xlsx
THER-AZ-04860066.xlsx
THER-AZ-04865536.pdf
THER-AZ-04893884.pptx
THER-AZ-04961217.xlsx
THER-AZ-05066959.pptx
THER-AZ-05066960.xlsx
THER-AZ-05066961.pdf
THER-AZ-05068520.xlsx
THER-AZ-05070412.xlsx
THER-AZ-05070413.xlsx
THER-AZ-05070414.xlsx
THER-AZ-05070584.xlsx
THER-AZ-05070585.xlsx
THER-AZ-05070586.xlsx
THER-AZ-05070608.xlsx
THER-AZ-05070765.xlsm
THER-AZ-05072586.xlsx
THER-AZ-05072693.xlsx
THER-AZ-05073103.xlsx
THER-AZ-05073132.xlsx
THER-AZ-05073178.xlsx
THER-AZ-05170968.pptx
THER-AZ-05172126.pdf
THER-AZ-05181291.xlsx
THER-AZ-05181295.xlsx
THER-AZ-05182852.xlsx
THER-AZ-05183906.xlsx
THER-AZ-05183950.xlsx
THER-AZ-05184000.xlsx
THER-AZ-05202675.xlsx
THER-AZ-05204950.xlsx
THER-AZ-05310957.pptx
THER-AZ-05311812.pdf
THER-AZ-05320703.xlsx
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 55 of 95




THER-AZ-05322675.ppt
THER-AZ-05323298.xlsx
THER-AZ-05326515.ppt
THER-AZ-05338139.pdf
THER-AZ-05338184.xlsx
THER-AZ-05338577.xlsx
THER-AZ-05342657.xlsx
THER-AZ-05349952.ppt
THER-AZ-05367611.xlsx
THER-AZ-05370711.xlsx
THER-AZ-05370939.xlsm
THER-AZ-05393292.pdf
THER-AZ-05413883.pdf
THER-AZ-05416476.pdf
THER-AZ-05416480.pdf
THER-AZ-05416481.pdf
THER-AZ-05416482.pdf
THER-AZ-05416483.pdf
THER-AZ-05416484.pdf
THER-AZ-05416485.pdf
THER-AZ-05416486.pdf
THER-AZ-05419510.pptx
THER-AZ-05466651.xlsx
THER-AZ-05466703.xlsx
THER-AZ-05466704.xlsx
THER-AZ-05466705.xlsx
THER-AZ-05467739.xlsx
THER-AZ-05467740.xlsx
THER-AZ-05468260.pptx
THER-AZ-05582240.pdf
THER-AZ-05592156.pdf
THER-AZ-05651376.xlsx
THER-AZ-05992921.pdf
THER-AZ-05992922.pdf
THER-AZ-05992928.pdf
THER-AZ-05992930.pdf
THER-AZ-05992936.pdf
WG000368.pdf
WG006132.pdf
WG028234.pdf

CMS-014053_native.pdf          CDPH0000001_image.pdf
Select Rosendorff Emails.pdf   CDPH0000062_image.pdf
THPFM0004201054_image.pdf      CDPH0000315_image.pdf
   Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 56 of 95




THPFM0004806442_image.pdf   Kidd et al. Evaluation of direct-to-consumer low-volume lab tests
THPFM0004929096_image.pdf      in healthy adults.pdf
THPFM0004990549_image.pdf   PFM-DEPO-00005457_image.pdf
THPFM0005498546_image.pdf   PFM-DEPO-00005888_image.pdf
TS-0485304_image.pdf        SEC-USAO-EPROD-000894765_image.pdf
                            THPFM0004993048_image.pdf
                            THPFM0004993049.xlsx
                            THPFM0004993050.xlsx
                            US-FDA-0015694_image.pdf
                            US-FDA-0015698_image.pdf
                            US-FDA-0015842_image.pdf
                            US-FDA-0015864_image.pdf
                            US-FDA-0015956_image.pdf
                            US-FDA-0015971_image.pdf
                            US-FDA-0024046_image.pdf
                            US-FDA-0024585_image.pdf
                            US-FDA-0024744_image.pdf
                            US-FDA-0024759_image.pdf
                            US-FDA-0024797_image.pdf
                            US-FDA-0024812_image.pdf
                            US-FDA-0024827_image.pdf
                            US-FDA-0030621_image.pdf
                            US-FDA-0033540_image.pdf
                            US-FDA-0033542_image.pdf
                            US-FDA-0033547_image.pdf
                            US-FDA-0033809_image.pdf
                            US-FDA-0034774_image.pdf
                            US-FDA-0037189_image.pdf

THPFM0000019373_image.pdf   SEC-USAO-EPROD-000648527_image.pdf
THPFM0000153439_image.pdf   SEC-USAO-EPROD-001846618_image.pdf
THPFM0000264724_image.pdf   Select Documents re
THPFM0000273265_image.pdf   Select Documents re
THPFM0000281404_image.pdf
THPFM0000288821_image.pdf   SEC-USAO-EPROD-000383896_image.pdf
THPFM0000390937_image.pdf   SEC-USAO-EPROD-000384524_image.pdf
THPFM0000497929_image.pdf   SEC-USAO-EPROD-000384724_image.pdf
THPFM0000552562_image.pdf   SEC-USAO-EPROD-000384877_image.pdf
THPFM0000567198_image.pdf   SEC-USAO-EPROD-000430282_image.pdf
THPFM0000832674_image.pdf   SEC-USAO-EPROD-000440274_image.pdf
THPFM0000863064_image.pdf   SEC-USAO-EPROD-000530614_image.pdf
THPFM0001302355_image.pdf   SEC-USAO-EPROD-001177428_image.pdf
THPFM0001402145_image.pdf   SEC-USAO-EPROD-001199315_image.pdf
THPFM0001546948_image.pdf   SEC-USAO-EPROD-001212697_image.pdf
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 57 of 95




 THPFM0001558414_image.pdf         SEC-USAO-EPROD-001212700_image.pdf
 THPFM0002371824_image.pdf         SEC-USAO-EPROD-001215565_image.pdf
 THPFM0003603101_image.pdf         SEC-USAO-EPROD-001215924_image.pdf
 THPFM0003866605_image.pdf         SEC-USAO-EPROD-001215931_image.pdf
 THPFM0004228061_image.pdf
 THPFM0004363242_image.pdf

 THER-0298217_image.pdf
 THER-2395701_image.pdf
 THER-2395709_image.pdf
 THER-2396974_image.pdf
 THPFM0004222310_image.pdf
 THPFM0004222311_image.pdf

 SEC-641605.xlsx                   SEC-USAO-EPROD-000516535_image.pdf
                                   SEC-USAO-EPROD-000641192_image.pdf
                                   BENNETT – CONFIDENTIAL PURSUANT TO PROTECTIVE
                                    ORDER129MINI.pdf (Bennett deposition in SEC v. Balwani)
                                   YAMAMOTO – MINI.pdf (Yamamoto deposition in SEC v. Balwani)



Additional documents and sources consulted:
Video recording of AACC 2016 Theranos presentation
cms.gov
www.westgard.com
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 58 of 95




                    Exhibit 53
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 59 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 60 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 61 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 62 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 63 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 64 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 65 of 95




                    Exhibit 54
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 66 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 67 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 68 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 69 of 95




                    Exhibit 55
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 70 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 71 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 72 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 73 of 95
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 74 of 95




                    Exhibit 56
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 75 of 95




                                              United States Attorney
                                              Northern District of California


                                                1301 Clay Street, Suite 340S             (510) 637-3680
                                                Oakland, California 94612           Fax: (510) 637-3724


                                             October 29, 2020

By Email

Lance Wade, Esq.
Kevin Downey, Esq.
Amy Saharia, Esq.
Katie Trefz, Esq.
Williams & Connolly LLP
725 Twelfth Street, N.W.
Washington, DC 20005

       Re:      United States v. Holmes, CR 18-258 EJD

Dear Counsel:

       Pursuant to your requests for discovery, we write to alert you to the following
information, which you may view as potential Brady, Giglio, or Jencks information. This
supplements our letter to you dated July 9, 2019. By making these disclosures, we do not
necessarily agree that this information is responsive to Rule 16, Brady, Giglio, or Jencks, nor do
we waive any applicable privilege or protection.

                                             *****

       1.       Government notes of a phone call with Pete Skinner on or about January 28,
2016, state in part:

                privately held
                few SHDs
                        sophisticated
                        employees
                no public offering

                tech
                       prop – h’ware, software, chem, protocol
                ....
                software enables TSPU and larger h’ware to hook up w/ cloud so machine can be
                used remotely & results viewed remotely
                       big data anal.
                                                1
      Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 76 of 95




        46.     On or about October 5, 2018, the ALS supervisor advised attorneys for the
government and the government paralegal about issues surrounding the hard drive. She noted
she had discussions with her unit, the IT department, and the LTSC. She said the drive does not
contain material which could be processed in house or by the LTSC. She said the drive contains
12 BAK files totaling about 830 gigabytes. She said the .bak extension indicates that the files
were most likely backup files for a Microsoft SQL database. She said if that was correct such
files would be used to restore database backups on a Microsoft SQL Server. She said .bak is a
common extension and without documentation of what the drive was meant to contain she could
only make an educated guess that these were database backups. She said because they were
archive files the size of the data could increase when restored. She said the material was not
provided to the USAO in a format that can be extracted, viewed, or processed by available
software. She said the LTSC’s EDD [electronic data discovery] software can only digest
SQL.bak files if they are under 300 mb. She suggested a possible route forward of pushing the
producing party to see if the party could be persuaded to produce in a manner that can be viewed
and processed in a standard way rather than an unspecified archive format the government could
not access. She suggested encouraging the producing party to consider handing over its physical
SQL server and setting it up in a workroom. She suggested checking with the FBI or other
agencies to see if they have resources that can process large SQL database archives. She
suggested identifying a vendor who could process the material and noted the data size and labor
cost could be staggering. She offered to set up a call or meeting to discuss the issues further.

       47.      On or about October 30, 2018, the government paralegal advised the ALS
supervisor she had met with attorneys for the government and the group decided to pursue the
options of pushing the producing party to see if it could be persuaded to produce in a manner that
can be viewed and processed in a standard way rather than an unspecified archive format the
government could not access and checking with the FBI or other agencies to see if they have
resources that can process large SQL database archives. The government paralegal also advised
the ALS supervisor to return the hard drive when she had a chance. Around that time, the ALS
supervisor did so. The hard drive remained in the possession of the government paralegal until
around the spring of 2020.

        48.     In approximately October and November of 2020, counsel for the government
was in contact with counsel for the assignee at the Dorsey law firm on a variety of topics.
During those discussions, government counsel noted that the government had been unable to
access the copy of the LIS database produced by Theranos. Assignee counsel expressed a lack
of surprise that the government was having difficulty accessing the database, and offered to
investigate whether the assignee had the database in a different form that would facilitate the
government’s access. During a subsequent conversation, assignee counsel reported back to the
government that it had been unable to locate an alternative version of the LIS database that
would allow access. Assignee counsel also informed government counsel that the LIS database
was encrypted and that the assignee lacked the means to decrypt it. Assignee counsel opined that
Sunny Balwani would likely be able to decrypt the database, but could not identify anyone else
who they thought could accomplish the task.

       49.     On or about January 14, 2019, the government paralegal advised attorneys for the
government that ALS had tried to process the hard drive but does not have the software to
process the discovery and proposed possible options of producing a native version, involving the
                                               22
     Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 77 of 95




                                          Very truly yours,

                                          STEPHANIE M. HINDS
                                          Attorney for the United States,
                                          Acting Under Authority Conferred
                                          By 28 U.S.C. § 515


                                          _________________________
                                          ROBERT S. LEACH
                                          JEFFREY SCHENK
                                          JOHN C. BOSTIC
                                          VANESSA BAEHR-JONES
                                          Assistant United States Attorneys

cc    Jeff Coopersmith, Esq. (by email)




                                            24
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 78 of 95




                    Exhibit 57
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 79 of 95




                Excerpts of Trial Testimony of Dr. Kingshuk Das

Tr.    Expert Subject       Excerpt

5817   Statistical analysis Q: And what is a standard deviation?
                            A: Would you like the more technical definition?
                            Q: I’d like the less technical definition if you could.
                            A: It’s, in general, an estimate of the spread of a data set, how
                            widely the values vary. … In laboratory parlance, we use it to
                            estimate precision.

5818   CMS response         Q: And did you and your team also review the data that is
                            listed here on this form?
                            A: Yes.
                            Q: And did you review an even broader universe of QC data in
                            order to respond to the CMS report?
                            A: We did.
                            Q: And is this—is the finding listed here consistent with what
                            you reviewed in your review of data?
                            MR. WADE: Your Honor, 702 on this issue, particularly
                            given the purpose that this evidence has been offered.
                            THE COURT: Mr. Leach, I think you’re on the margins of
                            a 702 area, so let me ask you to rephrase your question.

5819   CMS response         Q: At any point did you tell CMS that the company disagreed
                            with this particular finding?
                            A: No, I don’t believe we did.
                            Q: Okay. And why not?
                            A: These findings—
                            MR. WADE: Your Honor, again, 702. We’re just using
                            reverse instead of forward.
                            THE COURT: I understand. I think you’re asking for an
                            opinion that falls under 702 the way the question is formed,
                            so I’ll sustain the objection.
                            Q: But you never said to anybody at CMS, “I disagree with this
                            finding”?
                            A: I don’t recall saying that or writing that.

5820   Statistical analysis Q: And as lab director, is it desirable or undesirable to have a
                            CV of greater than 15 percent?


                                           1
 Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 80 of 95




                       A: That would be undesirable.
                       Q: This says, “Overall 29 percent of QC samples on all tests on
                       all devices had values greater than 2 SD’s.” … And what did
                       you understand that to mean?
                       A: That—I understand that to mean that 15 percent of the
                       values were violating the 2 SD rule, which is a common quality
                       control rule.

5821   CMS response    Q: Do you see where it says, “In February of 2015, the data”—
                       oh, before I leave G, did you ever tell CMS that you disagreed
                       with this finding in F?
                       MR. WADE: Your Honor, I’m going to object on 702
                       grounds to this as well.
                       THE COURT: Overruled. You can answer the question.
                       A: No, I do not recall that.

5822   CMS response    Q: And then i[t] says, “In April the data revealed the following
                       tests, showed percentage of QC samples with more than 15
                       percent of values greater than 2 SD, SHBG,” and then there’s a
                       list of assays continuing on to page 57. … At any point in time
                       did you tell CMS that you disagreed with this finding?
                       A: No, I don’t recall doing so.

5823   Assay results   Q: And did you give Ms. Holmes a particular reason why you
                       thought the Edison was prone to erroneous results?
                       A: Yes. In reviewing the data, [the PSA test] ended up being an
                       easily digestible example of the Edison’s errors [in] that I recall
                       quite a few female patients returning PSA results, which would
                       be highly unlikely.
                       Q: Why was that a red flag to you?
                       A: Because females should generally not have PSA detectable.
                       It should only be detected in males.

5825   CMS response    Q: And in the course of… preparing these patient impact
                       assessments, were you—did you view yourself as fulfilling
                       your obligations as the CLIA lab director?
                       A: Yes, I did.
                       Q: And why did you feel that was part of your obligations as
                       the CLIA lab director?



                                      2
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 81 of 95




                          A: That’s not only a regulatory obligation but a professional
                          one and an ethical one as well.

5826    CMS response      Q: In the course of responding to the CMS 2567, did you, as
                          the laboratory, detect errors in the patient reported results?
                          A: We did.
                          Q: And did you feel that you were required to take certain
                          action pursuant to this CLIA regulation and your professional
                          responsibilities?
                          A: Yes, that’s correct.

5829    CMS response      Q: [The response] then reads, “Upon review of that [prior]
                          response, including the entirety of the prior analysis of TPS 3.5
                          QC data and patient test result distributions for all analytes
                          during the time period examined, the laboratory made note of
                          poor QC performance throughout.” Is that an accurate
                          statement?
                          A: That is an accurate statement.

5830    CMS response      Q: It then says, “Therefore, laboratory conducted an expanded
                          retrospective analysis for 2014 and 2015 QC data.” What does
                          that mean?
                          A: In general that means we expand the range of the QC data
                          that we looked at because we identified issues with the original
                          data, meaning we wanted to see how far the poor performance
                          extended.

5830–31 Quality control   Q: It then says, “The laboratory noted multiple and recurrent
                          time periods (across all analytes tested) of abrupt shifts in QC
                          target means.” What does that mean? …
                          A: So that first part means that the average values of quality
                          control, the targets that we were trying to reach, or that the
                          laboratory was targeting, were being shifted unexplainedly.
                          Q: “High rates of 1-2S QC rule failures.” What is meant by “1-
                          2S”?
                          A: So this 1-2S actually refers to the same QC failures that the
                          CMS inspectors were noting in that D tag. … So the 2S refers
                          to 2 SD analogous to what is being referred to in the D tag.
                          Q: And “QC CV’s far exceeding limits for a stable testing
                          process.” What did that mean?


                                        3
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 82 of 95




                          A: To simplify that one a bit, it just means that there was a lot
                          of imprecision noted.
                          Q: And is imprecision desirable or undesirable?
                          A: Undesirable.

5832    CMS response      Q: And “the laboratory has concluded that there is a possible
                          patient impact for every test reported from the laboratory’s
                          TPS 3.5 instruments.” Is that what you communicated to CMS?
                          A: Yes, I believe so.
                          Q: And was that your view at the time?
                          A: Yes, it was.

5833    Voiding results   Q: In corrective action it reads, “The fraction of patient results
                          truly impacted, and the nature and magnitude of any effect are
                          unknown. Out of an abundance of caution, the laboratory has
                          voided all patient test results reported from the TPS 3.5
                          instruments.” … And did you, in fact, void all of the test results
                          from the Edison device from the 2014, 2015 time period?
                          A: Yes, we did so.

5833–34 Voiding results   Q: Describe the substance of what was said [to Ms. Holmes]?
                          A: I described our rationale for voiding these tests which relied
                          on some of the things that we discussed earlier, which was the
                          validation data as well as the QC data that is referenced here,
                          and it was—I can’t remember all of the constituents at that
                          meeting, but I tried to present it in a more understandable
                          format. So I described the issue in terms of the validation data
                          in describing that these instruments apparently were not
                          performing from the very beginning. …
                          Q: And did you think it was a complete explanation to describe
                          it as just a quality control issue?
                          A: No, sir.
                          Q: How come?
                          A: Because the validation data had no bearing on the quality
                          control or quality assurance program.

5835    Voiding results   Q: Did you ever recommend that testing be resumed in the
                          CLIA lab?
                          A: No.



                                         4
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 83 of 95




                          Q: And why was that?
                          A: I found these instruments to be unsuitable for clinical use.

5847–48 Quality control   Q: And the QC level 1 and level 3, what did you understand
                          those to refer to?
                          A: Those are different levels of the respective test QC, in this
                          case vitamin B12.
                          Q: And can you—and what is the purpose of different levels?
                          A: A laboratory is required to run multiple levels for every
                          quantitative test, so—
                          Q: So a high level, a low level, something in between?
                          A: Correct.
                          Q: Okay. And this says the QC level 1 and 3 were 34.3 and
                          48.5 percent. What was—what did you understand that to
                          mean?
                          A: It appears they’re referencing those particular levels for
                          those QC.
                          Q: And are these desirable levels of QC or undesirable levels
                          of QC?
                          A: Those would be undesirable.

5849    CMS response      Q: Dr. Das, did you understand these to be additional examples
                          of high CV in QC testing on devices within the CLIA lab?
                          A: Yes.
                          Q: And similar to what we looked at before, are these issues
                          that you investigated as part of your work?
                          A: Yes.
                          Q: And at any point in time, did you disagree with what CMS
                          was finding here?
                          A: No.

5851    Voiding results   Q: And did Theranos ultimately void all of the tests on the
                          Edison device?
                          A: Yes.

5853–54 CMS response      Q: And did—in response to the 2567, did you ultimately
                          determine to—that there were errors in the PT INR test?
                          A: Yes.
                          Q: And describe those for us, please.
                          A: Yes. There were actually a variety of findings. One of them


                                        5
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 84 of 95




                          was errors in the calculation of the values that has to do with
                          each lot that is used for this assay on the Siemens instrument.
                          There were also deviations in the patient test result
                          distributions, as well as quality control issues.
                          Q: And did—
                          MR. WADE: Your Honor, pardon me. Just move to strike
                          on 702 grounds.
                          THE COURT: I’m going to sustain the objection. And that
                          last portion is stricken, ladies and gentlemen.
                          Q: Did you—in communicating to CMS, did you describe the
                          bases—did you tell CMS that Theranos was voiding PT INR
                          tests?
                          A: Yes.
                          Q: And did you explain to them why Theranos was doing that?
                          A: Yes.
                          Q: What did you tell CMS?
                          A: I do not recall the exact language, but it reflected the
                          inaccurate calculations, as well as quality control issues and
                          inaccuracies reflected in the patient test result distributions.

5855–57 Quality control   Q: So if you run quality control and you fail quality control for
                          whatever reason, you shouldn’t be reporting a test?
                          A: That’s right.
                          Q: And is this listing examples of where it appeared that
                          Theranos was running tests after not passing quality control?
                          A: Yes.
                          MR. WADE: Your Honor, move to strike. It’s beyond the
                          scope of what the evidence is offered for.
                          THE COURT: You can ask that in a different way. I’ll
                          sustain the objection and strike that answer.
                          Q: As part of your work, Dr. Das, did you investigate whether
                          there were instances where Theranos reported patient results
                          after not passing quality control?
                          A: Yes.
                          Q: And did you find examples of that relating to PT INR?
                          A: Yes.
                          MR. WADE: 702, your Honor.
                          THE COURT: Overruled.
                          Q: You found examples of that?


                                        6
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 85 of 95




                          A: Yes.
                          Q: Did you also—looking down at paragraph 2, do you see that
                          the finding here is based on a review of the quality control
                          procedure, QC records, and raw data from patient test runs and
                          interview and the general supervisor, the laboratory failed to
                          ensure that the QC was acceptable for the TPS system, or
                          Theranos proprietary system, prior to reporting patient test
                          results. Do you see that?
                          A: Yes.
                          Q: In your mind, was this raising a similar issue with the
                          Edisons that was raised with respect to PT INR?
                          A: Yes.
                          MR. WADE: 702, your Honor.
                          THE COURT: Overruled.
                          Q: And did you investigate whether there were instances where
                          Theranos reported patient results from the Edison device after
                          failing quality control?
                          A: Yes.
                          Q: And did you find instances of that?
                          A: Yes.
                          Q: More than one?
                          A: Yes.
                          Q: And was that an issue?
                          A: Yes.
                          Q: Why is that?
                          A: For the reasons I delineated earlier. It’s required to do
                          quality control on every day that patient test results are run.

5857–58 Quality control   Q: Do you see where it says in D, “QC records for sex
                          hormone binding globulin, showed that on device E 1025, QC
                          level 2’S, 24 expiration was on 8/14/14 at 18:54 and was not
                          run again until 8/15/14. Patient data showed that patient
                          session,” and there’s a number, “was run on 8/14/14 at
                          19:09.” …
                          Q: And in your mind, did you understand this—was this CMS
                          raising the issue of Theranos reporting patient results for this
                          particular assay after failing quality control?
                          A: Yes.
                          Q: And that’s an issue that you investigated as well?


                                        7
 Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 86 of 95




                         A: Yes.
                         Q: And you found instances where that happened?
                         A: Yes.

5858   Quality control   Q: And what is a 10X warning message?
                         A: That is referring to a quality control failure where the
                         quality control results lie on one side of the mean either above
                         or below ten times consecutively.
                         Q: And in the course of your work, did you see instances where
                         Theranos continued to report patient results after this 10X
                         warning had come up?
                         A: Yes.

5859   Quality control   Q: And it’s been a while since we’ve heard that term, but what
                         is a Levey-Jennings chart?
                         A: It’s also known as a control chart. It’s just a way to chart
                         quality control values over time with respect to the expected
                         mean and standard deviations.
                         Q: And at any point in time did you communicate to CMS that
                         you disagreed with this finding?
                         A: No.
                         Q: That would be true of the findings in P and Q related to the
                         Lev[e]y-Jennings charts?
                         A: Yes.

6023   CMS response      Q: And in response to the 2567, you reviewed not just the
                         quality control data that was listed in the CMS report, but a
                         broader universe of data. Is that fair?
                         A: Yes.
                         Q: And what was the reason for doing that?
                         A: That was to identify the extent of the deficiency.
                         Q: Okay. And after that broader review, did you view the
                         instances that were listed by CMS as representative samples?
                         A: Yes.
                         Q: Those didn’t seem out of—unusual in the sense of being
                         one offs or out of the ordinary?
                         A: Outliers? Is that correct?
                         Q: We’ve used that term in some other contexts. I just want to
                         make sure if what was reported in CMS was representative of



                                       8
  Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 87 of 95




                          what you saw in your broader review.
                          A: Yes.

6024–25 Quality control   Q: And is quality control, like, the alarm bell to assess whether
                          a particular assay is working or not working as it’s supposed
                          to?
                          A: Yes.
                          Q: Okay. And based on your review of the broader universe of
                          QC data, were alarm bells going off?
                          A: Yes.

6026–27 Quality control   Q: You wrote, “I had a chance to touch base with Tina and
                          Daniel the other day to get details on the updated patient
                          impact assessments, and I’ve decided to take a more
                          conservative approach.” Is that in the context of these assays
                          run on the Siemens Advia?
                          A: Yes.
                          Q: And just explain for us what you meant by that.
                          A: Regarding the prior email, there was an approach outlined
                          that I disagreed with.
                          Q: And what was the approach you disagreed with?
                          A: If I remember correctly, they were proposing a more liberal
                          approach that would require multiple analytes to be, quote-
                          unquote, abnormal in order to trigger voiding or corrections,
                          and I disagreed with that assertion.
                          Q: And you wanted to look at it analyte by analyte; is that fair?
                          A: Yes, that would be the correct way to do it.
                          Q: And when you voided tests on the Edison 3.5 device, were
                          you being conservative?
                          A: Can you clarify, please.
                          Q: Did you feel like you were being conservative?
                          A: I was just following the data.

6028    Quality control   Q: And I think you were then shown some questions or asked
                          some questions about some additional assays that had been run
                          on the modified Siemens machine, and you were asked were
                          you comfortable with the data, and your answer was at that
                          point in time. Do you recall that testimony?
                          A: Yes.



                                        9
 Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 88 of 95




                         Q: And what did you mean by “at that point in time”?
                         A: We subsequently turned over more rocks and stones.

6029   Voiding results   Q: Did you get pushback from Ms. Holmes about how to
                         characterize the voiding of the tests?
                         A: Yes.
                         Q: Describe that pushback for us, please?
                         A: There was a characterization for why the voiding was done,
                         to which I disagreed.
                         Q: And that characterization was what?
                         A: That characterization was that the problems were due to
                         issues with quality control and quality assurance rather than the
                         instrument itself.
                         Q: And that was communicated—the idea that this was just a
                         quality systems issue was communicated to CMS; is that
                         correct?
                         A: Yes.
                         Q: And you disagreed with that?
                         A: Yes.




                                       10
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 89 of 95




                    Exhibit 58
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 90 of 95




                         Trial Exh. 5704 Page 0001
Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 91 of 95




                    Exhibit 59
.
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 92 of 95




                             Trial Exh. 1106 Page 0001
.
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 93 of 95




                             Trial Exh. 1106 Page 0002
.
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 94 of 95




                             Trial Exh. 1106 Page 0003
.
    Case 5:18-cr-00258-EJD Document 1193-2 Filed 12/13/21 Page 95 of 95




                             Trial Exh. 1106 Page 0004
